      Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                   Page 1 of 77 PageID 5


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 GUDMECINDO BAHENA SEGURA                           §
                                                    §
 v.                                                 §
                                                    §   Civil Cause No. 3:17-cv-02239
 ROEHL TRANSPORT, INC., AND                         §
 CHARLIE MCFADDEN                                   §


            INDEX OF PLEADINGS FILED IN THE STATE COURT ACTION

TO THE UNITED STATES DISTRICT CLERK:

        Pursuant to 28 U.S.C. § 1447(b), attached hereto are complete true and correct copies of

all documents filed in the state court action.

                                                 Respectfully Submitted,

                                                 FEE, SMITH, SHARP & VITULLO, L.L.P.

                                                  /s/ Michael P. Sharp

                                                 MICHAEL P. SHARP
                                                 State Bar No. 00788857
                                                 Email: msharp@feesmith.com
                                                 JASON A. BURRIS
                                                 State Bar No. 24049591
                                                 Email: jburris@feesmith.com
                                                 Three Galleria Tower
                                                 13155 Noel Road, Suite 1000
                                                 Dallas, TX 75240
                                                 (972) 934-9100
                                                 (972) 934-9200 (Fax)

                                                 ATTORNEYS FOR DEFENDANTS
                                                 ROEHL TRANSPORT, INC. AND
                                                 CHARLIE MCFADDEN




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of August, 2017, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing. Based on the
electronic records currently on file, the Clerk of the Court will transmit a Notice of Electronic
Filing to the following ECF registrants:

       Aaron L. Genthe
       Law Firm of Aaron A. Herbert
       8330 LBJ Freeway, Suite 400
       Dallas, TX 75243
       Email: efileagenthe@texaslegaladvice.com

                                              /s/ Michael P. Sharp

                                            MICHAEL P. SHARP




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08/23/17    Docket Sheet

07/11/17    Civil Case Information Sheet

07/11/17    Plaintiff’s Original Petition with Discovery Requests

07/17/17    Citation for Service on Defendant Roehl Transport, Inc.

07/17/17    Citation for Service on Defendant Charlie McFadden

08/07/17    Return of Service on Service on Defendant Roehl Transport, Inc.

08/18/17    Return of Service - Service on Defendant Charlie McFadden

08/18/17    Defendant, Roehl Transport, Inc.’s Original Answer

08/21/17    Defendant, Charlie McFadden’s Original Answer




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             Case Information




             DC-17-08345         134th District Court   TILLERY, DALE

             07/11/2017          MOTOR VEHICLE          OPEN
                                 ACCIDENT




             Party


                                                                      Ú
             BAHENA SEGURA, GUDMECINDO                  Lead Attorney
             Address                                    GENTHE, AARON L
             8330 LBJ FREEWAY                           Retained
             SUITE 700
             DALLAS TX 75243                            214-347-4259


                                                        214-983-0462




                                                                        Ú
             ROEHL TRANSPORT, INC.                      Lead Attorney
             Address                                    SHARP, MICHAEL
             BY SERVING ITS REGISTERED AGENT            PAUL
             RICHARD ROEHL                              Retained
             1916 E. 29TH STREET
             MANSFIELD WI 54449                         972-934-9100


                                                        972-934-9200




                                                                        Ú
             MCFADDEN, CHARLIE                          Lead Attorney
             Address

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                              8/23/2017
Details                                                                                      Page 2 of 4
             125 E. 11TH STREET                     SHARP, MICHAEL
              Case 3:17-cv-02239-B
             AUSTIN TX 78701-2483
                                     Document 1-1 Filed
                                                  PAUL
                                                        08/23/17     Page 5 of 77 PageID 9
                                                    Retained


                                                    972-934-9100


                                                    972-934-9200




             Events and Hearings




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               OUT OF COUNTY


               08/07/2017

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Details                                                                                        Page 3 of 4
               OUT OF COUNTY
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               08/18/2017

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                 SOS CIT EXEC 7/28/17 TO ROEHL TRANSPORT INC TRAVIS
                 CO


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                 RET SOS-Roehl Transport Inc-Proof of Srvc


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                 COH CIT EXEC 7/28/17 TO CHARLIE MCFADDEN TRAVIS CO


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               TILLERY, DALE


               10:00 AM




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Details                                                                                             Page 4 of 4
             Financial
             Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17              Page 7 of 77 PageID 11


                 Total Financial Assessment                      $311.00
                 Total Payments and Credits                      $311.00


              7/14/2017   Transaction                           $311.00
                          Assessment

              7/14/2017   CREDIT        Receipt   BAHENA       ($311.00)
                          CARD -        #         SEGURA,
                          TEXFILE       43884-    GUDMECINDO
                          (DC)          2017-
                                        DCLK




             Documents




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                              8/23/2017
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                                                                                                                                                                                     7/11/2017 11:16 AM
              Case 3:17-cv-02239-B Document              1-1INFORMATION
                                                CIVIL CASE    Filed 08/23/17
                                                                           SHEET  Page 8 of 77 PageID 12                                                                                 FELICIA PITRE
                                                                                                                                                                                       DISTRICT CLERK
                                                 DC-17-08345
           CAUSE NUMBER (FOR CLERK USE ONLY): _ _ _ _ _ _ _ _ _ _ _ _ _ COURT (FOR CLERK USE O N L Y ) : - - - - - - - - -

                     Gudmecindo
              STYLED _          Bahena Segura v. Roehl Transport, Inc. and Charlie McFadden
                       _ _ _ _~~-~~~~~--~----~-~~~-~~-~~--~----------
                                 (e.g .• John Smith v. All American Insurance Co; In re Mal)' Ann Jones; In the Matter of the Estate of George Jackson)
A civil case infonnation sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family Jaw case. The infonnation should be the best available at
the ttme
     . offi)"
            tmg.
1. Contact information for oerson comoletine case information sheet:                    Names of parties in case:                                     Person or entity completin2 sheet is:
                                                                                                                                                    X
                                                                                                                                                    0Attomey for Plaintiff/Petitioner
Name:                                      Email:                                       Plaintiffls)/Petitioner(s):                                 0Pro Se Plaintiff/Petitioner
Aaron L. Genthe                    agenthe@texaslegaladvice.com                        Gudmecindo Bahena Segura                                     0Title IV-D Agency
                                                                                                                                                    OOther:

Address:                                   Telephone:
                                                                                                                                                    Additional Panies in Child Suppon Case:
8330 LBJ Freeway, Suite 700                214-347-4259
                                                                                        Defendant( s )/Respondent( s ):                             Custodial Parent:
City/State/Zip:                            Fax:
                                                                                         Roehl Transport, Inc. and
Dallas, Texas 75243                       214-347-4269                                                                                              Non-Custodial Parent:
                                                                                        Charlie McFadden
Signature:                                 State Bar No:
/s/ Aaron L. Genthe                        24093610                                                                                                 Presumed Father:
                                                                                        )Attach additional page as necessary to list all parties)

2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                  Civil                                                                                                 Familv Law
                                                                                                                                                                  Post-judgment Actions
             Contract                    Injury or Damaee                           Real Property                           Marria2e Relationship                    (non-Title IV-D)
Debt/Contract                       0Assault/Battery                          DEminent Domain!                             0Annulment                           0Enforcement
  0Consumer/DTPA                    0Construction                               Condemnation                               0Declare Marriage Void               0Modification-Custody
  0Debt/Contract                    0Defamation                               0Partition                                   Di,•orce                             0Modification-Other
  OF mud/Misrepresentation          Malpractice                               DQuiet Title                                    0With Children                            Title IV-D
  OOther Debt/Contract:              0Accounting                              0Trespass to Try Title                          0No Children                      0Enforcement/Modification
                                     OLegal                                   OOther Propeny:                                                                   0Patemity
Foreclosure                          0Medical                                                                                                                   0Reciprocals (UIFSA)
  0Home Equity-Expedited             OOther Professional                                                                                                        0Suppon Order
  OOther Foreclosure                    Liability:
0Franchise                                                                       Related to Criminal
Dinsurance                          X
                                    0Motor Vehicle Accident                            Matters                                Other Familv Law                   Parent-Child Relationship
0Landlord/Tenant                    0Premises                                 OExpunction                                   D Enforce Foreign                   0Adoption/Adoption with
0Non-Competition                    Product Liability                         0Judgment Nisi                                  Judgment                            Tennination
0Pannership                           0Asbestos/Sil ica                       0Non-Disclosure                               0Habeas Corpus                      0Child Protection
00ther Contract:                      OOther Product Liability                0Seizure/Forfeiture                           0Name Change                        0Child Suppon
                                         List Product:                        0Writ of Habeas Corpus-                       D Protective Order                  0Custody or Visitation
                                                                                Pre-indictment                              0Removal ofDisabilities             0Gestational Parenting
                                    OOther Injury or Damage:                  OOther:                                         of Minority                       0Grandparent Access
                                                                                                                            OOther:                             0Parentage/Patemity
                                                                                                                                                                0Tennination of Parental
        Employment                                                 Other Civil                                                                                    Rights
                                                                                                                                                                00ther Parent-Child:
0Discrimination                      0Administrative Appeal                OLawyer Discipline
0Retaliation                         0Antitrust/Unfair                     0Perpetuate Testimony
0Tennination                            Competition                        0Securities/Stock
Oworkers' Compensation               Ocode Violations                      DTonious Interference
OOther Employment:                   0Foreign Judgment                     OOther:
                                     0Intellectual Propeny

            Tax                                                                                  Probate & Mental Hea/t/1
 DTax Appraisal                      Probate!Willsllmestate Administration                                         0Guardianship-Adult
 0Tax Delinquency                      0Dependent Administration                                                   0Guardianship-Minor
 OOtherTax                             Dindependent Administration                                                 OMental Health
                                       OOther Estate Proceedings                                                   OOther:

3. Indicate procedure or remedy, if applicable (may select more than 1):
 0Appeal from Municipal or Justice Coun                    0Declaratory Judgment                                  0Prejudgment Remedy
 DArbitration-related                                      0Gamishment                                            0Protective Order
 0Attachment                                               Dinterpleader                                          0Receiver
 0Bill of Review                                           OLicense                                               0Sequestration
 0Ceniorari                                                0Mandamus                                              0Temporary Restraining Order/Injunction
 0Ciass Action                                             0Post-judgment                                         0Turnover
4. Indicate damaees soueht (do not select ifit is a famllv law case):
 0Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 0Less than $100,000 and non-monetary relief
 DOver $100, 000 but not more than $200,000
 Dover $200,000 but not more than $1 ,000,000
 X
 Dover   $1 ,000,000
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1 SOS-E-SERVE                                                                                           DALLAS COUNTY
                                                                                                       7/11/2017 11:16 AM
      Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                  Page 9 of 77 PageID 13             FELICIA PITRE
1 COH-E-SERVE                         DC-17-08345                                                        DISTRICT CLERK
                                  CAUSE NO. _________________
                                                                                                   Freeney Anita

     GUDMECINDO BAHENA SEGURA,                         IN THE DISTRICT COURT

                            Plaintiff,

                                                      134TH
     v.                                                _____ JUDICIAL DISTRICT


     ROEHL TRANSPORT, INC. AND
     CHARLIE MCFADDEN,
                  Defendants.                          DALLAS COUNTY, TEXAS


    PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST
          REQUEST FOR WRITTEN DISCOVERY TO DEFENDANTS


    TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, GUDMECINDO BAHENA SEGURA, Plaintiff, and files this, his

    Original Petition, complaining of Defendants, ROEHL TRANSPORT, INC. AND

    CHARLIE MCFADDEN, and would show unto the Court as follows:

                            I. SELECTION OF DISCOVERY LEVEL

           Discovery in this case is intended to be conducted under Level 2 of Rule 190 of the

    Texas Rules of Civil Procedure.

                                 II.     JURISDICTION & VENUE

           This suit is brought in accordance with the laws of the State of Texas, for the recovery of

    damages which are within the jurisdictional limits of this Court, to which Plaintiff are entitled to

    receive as compensation for the injuries described below. The Court has continuing jurisdiction

    over Defendants because Defendants committed a tort in whole or in part in the State of Texas.

    Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff’s counsel states that

    damages are within the jurisdictional limits of this Court. Further, as required by Rule 47(b),

                                                                                                  Page 1

    PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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Texas Rules of Civil Procedure, Plaintiff’s counsel states that the damages, harms and losses

sought by Plaintiff are in an amount within the jurisdictional limits of this Court. Plaintiff’s

counsel is required by Rule 47(c) of the Texas Rules of Civil Procedure to state the amount of

damages, in dollar amount, that represent Plaintiff’s harms and losses suffered due to the

negligence of the Defendant. The legislative history of this requirement indicates that it is for

record keeping and statistical purposes only for lawsuits filed in the State of Texas.

        At this time, no discovery has been conducted and Plaintiff’s assertion is made upon

knowledge and belief at the time of filing and reserves the right to amend as more information

and discovery becomes available. Plaintiff’s counsel states that Plaintiff seeks monetary relief

over $1,000,000.00. The amount of monetary relief actually assessed by the jury or judge,

however, will ultimately be determined by a jury or judge after hearing all of the evidence of

harms, damages and losses and Plaintiff implicitly trusts the judgment of the good and fair judge

or jury as the representatives of our community. Ultimately, Plaintiff will ask a judge or jury of

Plaintiff’s peers to assess a fair and reasonable amount of money damages as compensation for

Plaintiff’s injuries.

        Pursuant to Texas Civil Practices and Remedies Code § 15.002, et seq., venue is proper in

DALLAS COUNTY, Texas. DALLAS COUNTY, Texas, is the county where a substantial part

of the events giving rise to this cause of action accrued.

                                        III. PARTIES

        Plaintiff is an individual who resides in Dallas County, Texas.

        Upon information and belief available to Plaintiff at this time, Defendant, ROEHL

TRANSPORT, INC., is and at all relevant times has been a commercial transportation company           SOS

in the State of Texas with its home office at 1916 E. 29th Street, P.O. Box 750, Marshfield,



                                                                                            Page 2

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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Wisconsin 54449. Defendant, is a commercial transportation business in Texas but does not

maintain a regular place of business or a designated agent for service of process in Texas.

Service of process is therefore proper on the Texas Secretary of State under Tex. Civ. Prac. &

Rem. Code Sec. 17.044(b). Defendant, ROEHL TRANSPORT, INC., will be served at its

designated office through their registered agent, RICHARD ROEHL, 1916 E 29th Street, P.O.

Box 750, Marshfield, Wisconsin 54449, pursuant to the procedures in Tex. Civ. Prac. & Rem.

Code Sec. 17.045.

        Defendant, CHARLIE MCFADDEN, is an individual whose last known address is 1014

W Stanfil Street, Hahira, Georgia 31632. Pursuant to Tex. Civ. Prac. & Rem. Code Chap. 17,

Subchapter D, service of process may be obtained on Defendant by serving two (2) copies of

this pleading and the citation, issued in the name of the Defendant, MCFADDEN, with the

Chair of the Texas Transportation Commission listed as the Agent of Service:

        Tryon D. Lewis, Chairman
        Texas Transportation Commission             COH
        125 E. 11th Street
        Austin, Texas 78701-2483

        As to the Defendant that is an entity (partnerships, unincorporated associations,

incorporated associations, or other entities), or individuals doing business under an assumed

name, Plaintiff brings this suit in said Defendant’s partnership, assumed or common name under

Rule 28 of the Texas Rules of Civil Procedure. Pursuant to Rule 28 of the Texas Rules of Civil

Procedure, Plaintiff reserves the right to substitute the true name of said Defendant at a later

time.

                                      IV.    FACTS

        This lawsuit results from an automobile collision that occurred on or about February 19,

2016 in Carrollton, Dallas County, Texas. At the time of the collision Plaintiff was the restrained

operator of a motor vehicle who come to a stop from a private drive facing Marsh Lane, when


                                                                                             Page 3

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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Defendant, who was operating a tractor trailer, failed to maintain a single lane of travel and

collided with Plaintiff’s motor vehicle.

       Upon information and belief at this time, at all material times hereto Defendant,

CHARLIE MCFADDEN, had been operating a motor vehicle owned by Defendant, ROEHL

TRANSPORT, INC., and acting within the course and scope of his employment with

Defendant, ROEHL TRANSPORT, INC.

 V.      NEGLIGENCE AND GROSS NEGLIGENCE – CHARLIE MCFADDEN

       At the time of the accident, Defendant was operating his tractor trailer in a negligent, and

grossly negligent manner. Specifically, Defendant had a duty to exercise ordinary care and

operate his tractor trailer reasonably and prudently. The collision and the injuries of the Plaintiff

were proximately caused by Defendant’s negligent, grossly negligent, careless, and reckless

disregard of his duty to Plaintiff, including the following acts and omissions:

              i.       Defendant failed to keep a proper lookout for the Plaintiff’s safety that
                       would have been maintained by a person of ordinary prudence under
                       the same or similar circumstances;

             ii.       Defendant failed to timely apply the brakes to his tractor trailer in order
                       to avoid the collision;

            iii.       Defendant failed to turn his vehicle to the left or right in order to avoid
                       the collision in question;

            iv.        Defendant was operating his tractor trailer at a rate of speed which was
                       greater than that would have been operated by a person of ordinary
                       prudence under the same or similar circumstances;

             v.        Defendant failed to take proper evasive action that would have been
                       taken by a person of ordinary prudence under the same or similar
                       circumstances;

            vi.        Defendant failed to remain reasonably attentive to the traffic and other
                       conditions existing on the roadway as a reasonably prudent person
                       would have been under the same or similar circumstances;

            vii.       Defendant failed to maintain a clear and reasonable distance between
                       other motor vehicle and Defendant’s tractor trailer which would permit
                       Defendant to bring his tractor trailer to a safe stop without colliding into
                                                                                               Page 4

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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                       other motor vehicles;

           viii.       Defendant failed to sound his horn;

            ix.        Defendant failed in his inattention to the operation of the vehicle;

             x.        Defendant failed in complying with applicable official traffic-control
                       devices in violation of Texas Transportation Code Sec. 544.004;

            xi.        Defendant failed in his inattention to road signs and traffic lights;

            xii.       Defendant failed to maintain a single lane of travel;

           xiii.       Defendant made an unsafe lane change; and

           xiv.        Defendant was using a cellular phone at the time of collision.

       Each of the foregoing acts and omissions, either taken singularly or in combination with

others, constituted negligence, gross negligence and negligence per se, which proximately and

directly caused the collision and Plaintiff’s injuries and damages.

       The conduct of Defendant when viewed objectively, involved an extreme degree of risk,

considering the probability and magnitude of the potential harm to others, and of which the

Defendant had actual, subjective awareness of the risk involved, but nevertheless proceeded with

conscious indifference to the rights, safety and welfare of others, specifically including Plaintiff.

                   VI. NEGLIGENCE PER SE-CHARLIE MCFADDEN

       On February 19, 2016, as more specifically described above, Defendant violated Tex.

Transp. Code § 545.060(a), by failing in his duty of a motor-carrier driver to not move from a

lane until the driver has ascertained that the movement can be made safely. Plaintiffs are part of

the class of persons that Tex. Transp. Code § 545.060(a) and its provisions are intended to

protect. Defendant's violation of Tex. Transp. Code § 545.060(a) constituted negligence per se

that proximately caused the above mentioned collision and Plaintiffs’ physical injuries and

associated damages as described below.

                                                                                               Page 5

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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  VII.     NEGLIGENCE AND GROSS NEGLIGENCE – ROEHL TRANSPORT,
                                INC.

         At the time of the accident, Defendant, CHARLIE MCFADDEN, was operating his

vehicle in a negligent, and grossly negligent manner and it appears Defendant, CHARLIE

MCFADDEN, may have been fatigued or driving in violation of the hours-of-service

regulations. It further appears that Defendant, ROEHL TRANSPORT, INC., may have been

negligent in its entrustment of a tractor trailer to Defendant, CHARLIE MCFADDEN. The

collision and the injuries of the Plaintiff were proximately caused by Defendant’s negligent,

grossly negligent, careless, and reckless disregard of his duty to Plaintiff, including the following

acts and omissions:

               i.      Defendant failed to properly qualify CHARLIE MCFADDEN;

              ii.      Defendant failed to hire a qualified driver, CHARLIE MCFADDEN;

             iii.      Defendant failed to properly supervise CHARLIE MCFADDEN;

             iv.       Defendant retained driver, CHARLIE MCFADDEN, after Defendant
                       learned CHARLIE MCFADDEN was unfit for his position; and

              v.       Defendant failed to properly train CHARLIE MCFADDEN.

         Each of the foregoing acts and omissions, either taken singularly or in combination with

others, constituted negligence, gross negligence and negligence per se, which proximately and

directly caused the collision and Plaintiff’s injuries and damages.

         The conduct of Defendant when viewed objectively, involved an extreme degree of risk,

considering the probability and magnitude of the potential harm to others, and of which the

Defendant had actual, subjective awareness of the risk involved, but nevertheless proceeded with

conscious indifference to the rights, safety and welfare of others, specifically including Plaintiff.

                             VIII. RESPONDEAT SUPERIOR

         Defendant, ROEHL TRANSPORT, INC., was incorporated at the time of the collision,


                                                                                               Page 6

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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and Plaintiff pleads that at the time of the collision, Defendant, CHARLIE MCFADDEN, was

the agent, servant, and employee of Defendant, ROEHL TRANSPORT, INC., and was acting

within the scope of his authority as such agent, servant, and employee. Defendant, ROEHL

TRANSPORT, INC., is liable to Plaintiff for the negligence of Defendant, CHARLIE

MCFADDEN, under the common law doctrine of respondeat superior.


                                      IX. DAMAGES

       As a proximate result of Defendant’s negligence, Plaintiff suffered severe injuries.

Plaintiff suffered the following damages:

              i.     Medical and healthcare expenses incurred in the past;

             ii.     Medical and healthcare expenses which, in all reasonable probability, will
                     be incurred in the future;

            iii.     Physical pain and suffering in the past;

            iv.      Physical pain and suffering which, in all reasonable probability, will be
                     incurred in the future;

            v.       Mental anguish suffered in the past;

            vi.      Mental anguish which, in all reasonable probability will be suffered in the
                     future;

           vii.      Physical impairment suffered in the past;

          viii.      Physical impairment which, in all reasonable probability, will be suffered
                     in the future;

            ix.      Lost wages suffered in the past;

             x.      Lost wages and earning capacity which, in all reasonable probability will
                     be suffered in the future;

            xi.      Disfigurement in the past; and

           xii.      Disfigurement which, in all reasonable probability, will be suffered in the
                     future.

                                                                                          Page 7

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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           xiii.      Property damage and loss of use of a motor vehicle.

       Plaintiff additionally seeks exemplary damages as allowed by Chapter 41 of the Texas

Civil Practice & Remedies Code.

                             X. CONDITIONS PRECEDENT

       Pursuant to Rule 54 of the Texas Rules of Civil Procedure, Plaintiff hereby alleges all

conditions precedent have been performed or have occurred.


                                  XI. U. S. LIFE TABLES
       Notice is hereby given that Plaintiff intends to use the U.S. Life Tables as prepared by the
Department of Health and Human Services.

                               XII. COSTS AND INTEREST
       It was necessary for Plaintiff to expend money as costs of Court requisite to prosecute

this cause of action. Therefore, an award of these costs to Plaintiff is authorized by Rule 131 of
the Texas Rules of Civil Procedure. Plaintiff is also entitled to prejudgment and post-judgment

interests as allowed by law.
                      XIII. PLAINTIFF’S T.R.C.P. 193.7 NOTICE

       Plaintiff, in accordance with Rule 193.7 of the Texas Rules of Civil Procedure regarding

self-authenticating documents, files this notice of intent to used written discovery documents at

trial and/or any pre-trial proceedings. Plaintiff hereby gives notice to all parties that Plaintiff

intends to use at trial, or at any pre-trial proceedings, all documents produced by Defendant in

response to discovery from any and all parties in this cause.

                                    XIV. JURY DEMAND

       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff hereby makes

demand and application for jury trial.




                                                                                              Page 8

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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                                  XV.       REQUESTS FOR DISCLOSURE


         Pursuant to Rule 194, you are requested to disclose, within thirty (30) days of the service

of this request, the information or material described in Rule 194.2(a), (b), (c), (d), (e), (f), (g),

(h), (i), (j ), (k), and (l).

                                              XVI. PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff, GUDMECINDO BAHENA

SEGURA, respectfully requests that Defendants, ROEHL TRANSPORT, INC. AND

CHARLIE MCFADDEN, be cited to appear and answer, and on final trial, that Plaintiff have

judgment against Defendants for:

                 i.        Actual damages;

                ii.        Prejudgment and post judgment interest as allowed by law;

               iii.        Costs of suit;

               iv.         Exemplary damages; and

                v.         Any further relief, either in law or equity, to which Plaintiff is justly

                           entitled.

                                              Respectfully submitted,
                                              THE LAW FIRM OF AARON A. HERBERT



                                              BY:___________________________________
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           WRITTEN DISCOVERY HAS BEEN SERVED HEREWITH IN
         ACCORDANCE WITH THE TEXAS RULES OF CIVIL PROCEDURE
                                                                                                Page 9

PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED PLAINTIFF’S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANTS
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                              CAUSE NO. _________________

 GUDMECINDO BAHENA SEGURA,                        IN THE DISTRICT COURT

                        Plaintiff,


 v.                                               _____ JUDICIAL DISTRICT

 ROEHL TRANSPORT, INC. AND
 CHARLIE MCFADDEN

                        Defendants.               DALLAS COUNTY, TEXAS


        PLAINTIFF’S FIRST REQUEST FOR WRITTEN DISCOVERY TO
                DEFENDANT ROEHL TRANSPORT, INC.

TO: DEFENDANT, ROEHL TRANSPORT, INC., by and through its registered agent,
Richard Roehl, 1916 E 29th Street, P.O. Box 750, Marshfield, Wisconsin 54449.

       COMES NOW, GUDMECINDO BAHENA SEGURA, Plaintiff in the above styled

cause of action and serves PLAINTIFF’S FIRST REQUEST FOR WRITTEN DISCOVERY

upon Defendant, ROEHL TRANSPORT, INC., as allowed by Tex.R.Civ.P. 192 through 197.

Defendant must answer each request separately, fully, in writing, and under oath, within fifty (50)

days after service.

                                         Respectfully submitted,
                                         THE LAW FIRM OF AARON A. HERBERT



                                         BY:___________________________________
                                            AARON L. GENTHE
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                         FIRST SET OF INTERROGATORIES
       Pursuant to Rule 197 of the TEXAS RULES OF CIVIL PROCEDURE, you are requested to

answer, within fifty (50) days of service of this request, the following Interrogatories.

                                    Preliminary Statement

       1. The following interrogatories are to be answered separately and fully, by furnishing all
information in your possession, custody or control, including all information to which you have
a superior right to compel from a third party, such as your agent, authority, or representative.

       2. You are to answer the interrogatories under oath. Your attorney in this case is not
allowed to sign or swear to the answers you have made to the interrogatories.

       3. You and your attorney are under a duty to supplement your answers to these
interrogatories by amending your answers if you obtain information upon the basis of which you
know that the answer was incorrect when made or you know that the answer is no longer true,
even though it was correct when made.

         4. Whenever an interrogatory requests the identification of a document or documents,
please set forth where the document exists, the name and address of its custodian, a description
of its contents, including its author, date, and addresses, the number of pages it contains, and all
attachments to the original document.

       5. If the answer to any interrogatory may be derived or ascertained from your business
records, and the burden of deriving the answer would be substantially the same for Plaintiff and
you, you may specify the records from which the answer may be obtained.

                                 Definitions & Abbreviations

         Plaintiff sets forth the following definitions or abbreviations of various words and
phrases that are contained in the Interrogatories. Plaintiff provides the following definitions and
abbreviations for the purpose of clarifying the meaning of various words and phrases contained
herein in order to expedite discovery, i.e., (1) to help the Defendant fully and accurately
understands the objectives of PLAINTIFF’S discovery efforts and (2) to simplify and assist the
Plaintiff in PLAINTIFF’S efforts to locate and furnish the relevant information and documents.
It is expressly stipulated and agreed by PLAINTIFF’S that an affirmative response on the part of
Defendant will not be construed as an admission that any definition or abbreviation contained
hereto is either factually correct or legally binding on Defendant.

       A. DEFENDANT: As used herein, the term "Defendant" means ROEHL
TRANSPORT, INC., their agents, representatives, and all other persons acting in concert with
them, or under their control, whether directly or indirectly, excluding their attorney.
       B. PLAINTIFF: As used herein, the term “Plaintiff(s)” means GUDMECINDO
BAHENA SEGURA, their agents, representatives, and all other persons acting in concert with
them, or under their control, whether directly or indirectly, excluding their attorney.

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       C. MULTIPLE PART ANSWERS: Where an individual interrogatory calls for an
answer which involves more than one part or subpart, each part of the answer should be set forth
separately so that it is clearly understandable and responsive to the respective interrogatory or
subpart thereof.

        D. YOU OR YOUR: Where the term "you or your" is used in the interrogatories or
instructions, it is meant to include the person(s) referenced in definition "A" above.
        E. WRITING OR WRITTEN: The term "writing" or "written" are intended to include,
but not necessarily be limited to the following: hand writing, type writing, computer printouts,
printing, photograph, and every other means of recording upon any tangible thing or any form of
communication, including letters, words, pictures, sounds or symbols or combinations thereof; and
they further include any oral communication later reduced to writing or confirmed by a letter.
        F. DOCUMENT(S): The term "documents" shall mean writings of every type and
from any source, including originals and non-identical copies thereof, that are in your
possession, custody, or control or known by you to exist. This would include documents sent
outside your organization to any source as well as documents intended for internal use. The term
also includes communications not only in words, but also in symbols, pictures, sound recordings,
film, tapes and information stored in, or accessible through, computer or other information
storage or retrieval systems. If the information is kept in a computer or informational retrieval
system, the term also includes codes and programming instructions and other materials necessary
to understand such systems. The term includes, but is not limited to: calendars, checkbooks,
agenda, agreements, analyses, bills, invoices, records of obligations and expenditures, corporate
bylaws and charters, correspondence, diaries, files, legal documents, financial documents
including balance sheets and profit and loss statements, letters, memorandum recording
telephone or in-person conferences, manuals, books, press releases, purchase orders, records,
schedules, memos of interviews, evaluations, written reports of tests or experiments, public
relations releases, telegrams, teletypes, work papers, drafts of documents, and all other writings
whose contents relate to the subject matter of the discovery request.

       G. FILE: “File” as used herein means any collection or group of documents maintained,
held, stored, or used together, including, without limitation, all collections of documents
maintained, held, or stored in folders, notebooks, or other devices for separating or organizing
documents.

        H. PERSON: "Person" as used herein means any natural person, corporation, firm,
association, partnership, joint venture, proprietorship, governmental body, or any other
organization, business, or legal entity, and all predecessors or successors in interest.
        I. PERSON(S) IDENTITY: When an interrogatory requests that you identify a person
please state:
               1.     His or her full name;
               2.     His or her present or last known address;
               3.     His or her present employers name and address; and
               4.     His or her occupational position or classification.



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       J. “DESCRIBE”, "IDENTIFY" or "IDENTIFICATION":

              1.      As to a person: When used in reference to a person or individual, the
                     terms “describe” "identify" or "identification" mean to state her/her full
                     name, address, and telephone number.
              2.     As to an entity: The terms “describe”, "identify" or identification" when
                     used in reference to an entity such as a corporation, partnership or
                     association, mean to state the name of the entity, its business address,
                     telephone number, and name of its chief executive officer and the agent
                     for service of process.
              3.     As to a document: When used in reference to a document, the terms
                     “describe”, "identify" or "identification" shall include the following:
                             a.     The title, heading or caption of such document.
                             b.     The date appearing on such document; or if no date
                                    appears, the approximate date on which the document was
                                    prepared.
                             c.     A general description of the document.
                             d.     The name of the person who signed the document or
                                    statement that it was unsigned.
                             e.         Name of the person or persons who prepared the
                                     document.
                              f.            Name of the person or persons to whom the
                                     document was addressed and to whom the
                                     document was sent.
                             g.      The physical location of the document.
              4.     As to a statement: When used in reference to a statement, the terms
                     “describe”, "identify" or "identification" shall include who made the
                     statement, who took or recorded it, and all others, if any, present during
                     the making thereof; to state when, where and how it was taken or
                     recorded, and to identify who was present or last known possession,
                     custody or control thereof.
              5.     To any other tangible thing: When used in reference to any other tangible
                     thing, the terms “describe”, "identify" or "identification" mean to give a
                     reasonably detailed description thereof, including, if applicable, when,
                     where, and how it was made; to identify who made it; and to identify who
                     has present or last known possession, custody or control thereof.

        K. COLLISION IN QUESTION: The term "collision" or "collision in question" or
similar reference as used herein refers to the Collision or Collision in Question described in
PLAINTIFF’S Original Petition, unless otherwise defined herein, and which forms the subject
matter in this suit.

        L. INCIDENT IN QUESTION: The term "incident" or "incident in question" or
similar reference as used herein refers to the Collision or Collision in Question described in
PLAINTIFF’S Original Petition, unless otherwise defined herein, and which forms the subject
matter in this suit.

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       M. STATEMENTS: The term “statement” or “statements” includes any written or
graphic statement signed or otherwise adopted or approved by the person making it and any
stenographic, mechanical, electrical, or other recordings, or a transcription thereof, which is a
substantially verbatim recital of an oral statement by the person making it and
contemporaneously recorded.

       N. VEHICLE IN QUESTION: The term “vehicle in question” means the vehicle
driven by Defendant at the time of the incident in question.

       O. “AND” “OR”: The word "and" means "and/or." The word "or" means "or/and."

      P. DEFENDANT, DRIVER: means the driver of the vehicle in question driven by
Defendant, CHARLIE MCFADDEN, at the time of the incident in question.




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                                   I. INTERROGATORIES


        Pursuant to Rule l97, Texas Rules of Civil Procedure, Defendant is requested to answer
the attached interrogatories separately, fully, in writing, and under oath

INTERROGATORY NO. 1:
Identify the driver of the vehicle in question.

RESPONSE

INTERROGATORY NO. 2:
Please state how you contend the collision in question occurred.

RESPONSE

INTERROGATORY NO. 3:
Please state the positions held, general job descriptions, and lengths of employment of
Defendant, driver, at the time of the collision in question.

RESPONSE

INTERROGATORY NO. 4:
Please state the full extent of any training, education, or experience concerning driving
techniques or principles Defendant, driver, has received.

RESPONSE

INTERROGATORY NO. 5:
Was Defendant, driver, acting in the course and scope of his employment with ROEHL
TRANSPORT, INC. at the time of the collision made the basis of this lawsuit? If you are
contending that Defendant, driver, was not acting in the course and scope of employment for
ROEHL TRANSPORT, INC. at the time of the collision, please state exactly why you are
making such contention.

RESPONSE

INTERROGATORY NO. 6:
If the vehicle driven by Defendant, driver, that was involved in the collision in question was not
owned by you, please state the vehicle owner’s name, address and telephone number.

RESPONSE

INTERROGATORY NO. 7:
Please list all traffic accidents in which Defendant, driver, has been involved, including the
location, city, county, state and any violations for which he was cited in connection with any

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traffic accidents.

RESPONSE

INTERROGATORY NO. 8:
Please give a description of all traffic violations for which Defendant, driver, has been cited,
including the date, city, county, state, offense alleged and ultimate disposition of such citation.

RESPONSE

INTERROGATORY NO. 9:
With respect to collisions or accidents involving one of ROEHL TRANSPORT, INC.'s vehicles
and/or a driver employed by you or under contract with ROEHL TRANSPORT, INC., please
state:

       a.      When the driver is required to make a report and to whom;

       b.      A description of any written report required to be made by any person with
               ROEHL TRANSPORT, INC. and/or the driver;

       c.      Where and in whose custody such reports are kept;

       d.      When a driver must submit for a drug test by giving a urine sample; and

       e.      When such report must be reported to the federal government.


RESPONSE

INTERROGATORY NO. 10:
Did Defendant, driver, receive any citations or tickets as a result of the collision in question? If
so, what was the outcome? If Defendant, driver, paid the ticket, did he plead guilty? What court
did Defendant, driver, have to appear in or call to resolve the citation or ticket?

RESPONSE

INTERROGATORY NO. 11:
Do you contend that someone other than Defendant, driver, failed to do something that
contributed to the wreck made the basis of this lawsuit? If so, please state what you claim that
person did or failed to do, or how the action or inaction caused or contributed to the wreck.

RESPONSE

INTERROGATORY NO. 12:
Please state the date on which you first subjectively believed that there was a substantial chance
that litigation would arise from the wreck made the basis of this lawsuit? What facts gave rise to

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Your subjective relief?

RESPONSE

INTERROGATORY NO. 13:
What does Defendant, ROEHL TRANSPORT, INC., do to review drivers’ logs to determine
whether they are accurate and whether they comply with the hours-of-service regulations? If
Defendant, ROEHL TRANSPORT, INC., uses any type of computer program or third-party
service to audit logs, please identify the program or service.

RESPONSE

INTERROGATORY NO. 14:
Does Defendant, ROEHL TRANSPORT, INC., use any type of GPS system or other
computerized device (such as OmniTRACS, Qualcomm or XATA) to monitor the movements
and/or speed of its tractors and/or trailers? If so, please describe the system or device,
including its name, what data is generated, where the data is stored, and how long the data is
retained.

RESPONSE

INTERROGATORY NO. 15:
For the cell phone in Defendant, driver’s tractor trailer, please identify the cell phone carrier and
the cell phone number.

RESPONSE




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                           II. REQUESTS FOR PRODUCTION

       Pursuant to Rule 196, Texas Rules of Civil Procedure, Defendant is requested to produce
and permit the inspection and copying of the following documents:

1.     Produce any and all documents, including but not limited to invoices, repair bills, or
       estimates, reflecting the damage to any vehicle involved in the collision in question.

       RESPONSE:

2.     Produce any and all photographs, videotapes, or other depictions of any vehicle involved
       in the collision in question.

       RESPONSE:

3.     Produce any and all photographs of the scene of the collision in question.

       RESPONSE:

4.     Produce any and all photographs that you intend to use at trial.

       RESPONSE:

5.     Produce any and all photographs, videotapes or other depictions of Plaintiff.

       RESPONSE:

6.     Produce any and all photographs, videotapes or other depictions of DEFENDANT,
       DRIVER.

       RESPONSE:

7.     Produce any and all witness statements.

       RESPONSE:

8.     Produce any and all statements from GUDMECINDO BAHENA SEGURA.

       RESPONSE:

9.     Produce any and all statements from any Defendant, Defendant's agents or employees
       relating to the incident in question.

       RESPONSE:

10.    Produce any and all documents related to DEFENDANT, DRIVER’s employment with

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      ROEHL TRANSPORT, INC.

      RESPONSE:

11.   Produce any and all documents related to the maintenance, repair, acquisition, loads,
      operation or travel of the vehicle involved in the collision in question. These documents
      should include, but are not limited to, trip sheets, fuel receipts, work orders, bills of
      lading, maintenance records, operations manuals, vehicle condition reports, and other
      documents obtained regarding the vehicle.

      RESPONSE:

12.   Produce any and all documents regarding any unemployment claim, worker’s
      compensation claim or any other type of claim filed by Defendant, driver relating to his
      employment with ROEHL TRANSPORT, INC.

      RESPONSE:

13.   Produce any and all pictures, drawings, photographs or videotapes in your possession or
      subject to your control that are relevant and material to this cause of action, including but
      not limited to those showing GUDMECINDO BAHENA SEGURA, Defendant, driver,
      any of the vehicles or any part of the vehicles involved in the collision in question, or the
      location of such collision.

      RESPONSE:

14.   Produce any information relating to any conviction to be used for impeachment
      purposes against any party, witness, and/or person with knowledge of facts named in
      discovery information provided to you before trial. Please include the name of the
      person convicted, the offense for which he or she was convicted, the year of such
      conviction, the court of such conviction and the sentence involved.

      RESPONSE:

15.   Produce any written, taped or mechanically reproduced statement heretofore made of
      GUDMECINDO BAHENA SEGURA, Defendant, driver, and/or agents or employees.

      RESPONSE:

16.   Produce any records or documentation (medical or non-medical) concerning Defendant,
      driver that would indicate whether he was using alcohol and/or drugs (including
      prescription or nonprescription, legal or illegal drugs) within forty-eight (48) hours prior
      to the collision in question.

      RESPONSE:


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17.   Produce any records or documentation (medical or non-medical) concerning Defendant,
      driver that would indicate that he had alcohol and/or drugs (including prescription or
      nonprescription, legal or illegal), or metabolites of alcohol and/or drugs (including
      prescription or nonprescription, legal or illegal) in the bloodstream or urine at the time of
      or the time following the collision in question.

      RESPONSE:

18.   Produce any records or documentation (medical or non-medical) that would indicate that
      Defendant, driver was a regular user of any illegal substance(s) within one (1) year
      preceding the collision in question.

      RESPONSE:

19.   Produce a photostatic copy of the front and back of Defendant, driver’s current driver’s
      license and any commercial license.

      RESPONSE:

20.   Produce a copy of any company vehicle use records for the vehicle involved in the
      collision for the one hundred eighty (180) days preceding and including the date of the
      collision in question.

      RESPONSE:

21.   Produce any documentation concerning Defendant, driver involving disciplinary actions,
      demerits, reprimands, or incidents indicating less than satisfactory job performance.

      RESPONSE:

22.   Produce any and all manuals, instructions, guidelines, directives, or memoranda
      concerning the performance or execution of the position held by Defendant, driver at the
      time of the collision in question.

      RESPONSE:

23.   Produce any and all records, notes, files, memoranda, or other similar documentation
      indicating an awareness on your part that Defendant, driver was an unsafe driver.

      RESPONSE:

24.   Produce any and all documents relating to reservation of rights or denial of coverage on
      the part of any insurance carrier for any of the named Defendants with respect to this
      claim.

      RESPONSE:

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25.   If you contend that you had a good faith belief to reasonably anticipate that there was a
      substantial chance that litigation would ensue on behalf of Plaintiff prior to the date you
      received notice of this lawsuit, please produce any and all correspondence, memoranda,
      statements, tape recordings, transcripts of tape recordings, wire reports, investigation
      reports, close-out reports, summaries, or any other documents, as well as any other
      tangible things that you contend showed an outward manifestation that would indicate
      there was a substantial chance litigation would ensue.

      RESPONSE:

26.   Produce any reports, memoranda, documents or materials of any type which specifically
      indicate a date or occurrence on which you rely for any contention that you had a good
      faith belief to reasonably anticipate that there was a substantial chance that litigation
      would ensue concerning any injury or damages claimed on behalf of Plaintiff.

      RESPONSE:

27.   Produce any insurance policies that provide, or may provide, coverage for the collision in
      question.

      RESPONSE:

28.   Produce any reservation of rights letters or non-waiver agreements.

      RESPONSE:

29.   Produce any cell phone bills that would show whether or not Defendant, driver was
      using a cell phone on the date of the wreck. This request includes, but is not limited to,
      cell phone bills for the day of the wreck.

      RESPONSE:

30.   Produce any and all cell phone bills and records for any cell phone used by Defendant,
      driver for the period starting one hundred eighty (180) days before the wreck and ending
      fourteen (14) days after the wreck

      RESPONSE:

31.   Provide all GPS and other electronic data and records, including but not limited to all
      Qualcomm Satellite Communication tracking information showing the location of the
      truck in the incident at issue in this lawsuit for the period starting one hundred eighty
      (180) days before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:


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32.   Produce any and all expense receipts and reports submitted by Defendant, driver for the
      period starting one hundred eighty (180) days before the wreck and ending fourteen (14)
      days after the wreck.

      RESPONSE:

33.   Produce any and all incident reports generated by Defendant, driver or ROEHL
      TRANSPORT, INC. regarding the collision at issue in this lawsuit.

      RESPONSE:

34.   If, during the time period starting one hundred eighty (180) days before the wreck and
      ending fourteen (14) days after the wreck, Defendant, driver drove a truck and/or trailer
      different than the ones at issue in this lawsuit, provide all GPS and other electronic data
      and records, including but not limited to all Qualcomm Satellite Communication and
      OmniTRACS tracking information showing the location of the truck and trailer driven
      by Defendant, driver for that time period.

      RESPONSE:

35.   Produce Defendant, driver’s log books for the period starting one hundred eighty (180)
      days before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

36.   Produce ROEHL TRANSPORT, INC.’s complete driver qualification file on Defendant,
      driver.

      RESPONSE:

37.   Produce any and all personnel files, accident files, and other files and documents that
      ROEHL TRANSPORT, INC. maintains or possesses regarding Defendant, driver.

      RESPONSE:

38.   Produce any and all fuel receipts, bills of lading, weigh tickets, and toll receipts for any
      vehicle operated by Defendant, driver during the period starting one hundred eighty
      (180) days before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

39.   Produce any and all Qualcomm records and data regarding any vehicle operated by
      Defendant, driver, and any communications to and from Defendant, driver, for the
      period starting one hundred eighty (180) days before the wreck and ending fourteen (14)
      days after the wreck.


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      RESPONSE:

40.   Produce any and all documents and data that shows the speed, location, ignition status,
      brake status, acceleration, deceleration, sudden stops, and other information regarding
      any vehicle operated by Defendant, driver during the period starting one hundred eighty
      (180) days before the wreck and ending fourteen (14) days after the wreck. The scope of
      this request includes, but is not limited to, “black box” data, crash data recorders,
      OmniTRACS data, Qualcomm data, GPS data, XATA data, JETT-Track, DriveOk,
      FleetMatics, Fleet Management Solutions, Fleetilla, Shadow Tracker, Trimble, and any
      other data source.

      RESPONSE:

41.   Produce any and all monthly log summary sheets for Defendant, driver for the period
      starting one hundred eighty (180) days before the wreck and ending fourteen (14) days
      after the wreck.

      RESPONSE:

42.   Produce any and all notice of logging violations for Defendant, driver for the period
      starting one hundred eighty (180) days before the wreck and ending fourteen (14) days
      after the wreck.

      RESPONSE:

43.   Produce the accident register for ROEHL TRANSPORT, INC.

      RESPONSE:

44.   Produce any and all safety performance history records regarding Defendant, driver.

      RESPONSE:

45.   Produce any and all driver’s vehicle inspection reports completed by Defendant, driver
      for the period starting one hundred eighty (180) days before the wreck and ending
      fourteen (14) days after the wreck.

      RESPONSE:

46.   Produce any and all pretrip check lists completed by Defendant, driver for the period
      starting one hundred eighty (180) days before the wreck and ending fourteen (14) days
      after the wreck.
      RESPONSE:

47.   Produce the vehicle accident kit issued to Defendant, driver.


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      RESPONSE:

48.   Produce an exemplar blank vehicle accident kit used by ROEHL TRANSPORT, INC.

      RESPONSE:

49.   Produce any and all dispatch and trip reports regarding any vehicle operated by
      Defendant, driver for the period starting one hundred eighty (180) days before the wreck
      and ending fourteen (14) days after the wreck.

      RESPONSE:

50.   Produce any and all trip cost report envelopes for any vehicle operated by Defendant,
      driver for the period starting one hundred eighty (180) days before the wreck and ending
      fourteen (14) days after the wreck.

      RESPONSE:

51.   Produce any and all OmniTRACS data regarding any vehicle operated by Defendant,
      driver for the period starting one hundred eighty (180) days before the wreck and ending
      fourteen (14) days after the wreck.

      RESPONSE:

52.   Produce copies of all documents obtained by deposition on written question or
      subpoena.

      RESPONSE:

53.   Produce any and all documents regarding any audits or examinations performed of
      ROEHL TRANSPORT, INC. by any state or federal agency, including but not limited to
      any state department of transportation, any state department of motor vehicle, the U.S.
      Department of Transportation, and the Federal Motor Carrier Safety Administration.

      RESPONSE:

54.   Exact copies of the Defendant’s insurance claim file that was generated from the date of
      the incident made the basis for this suit until the date this lawsuit was filed.

      RESPONSE:

55.   Produce complete and full copies for Defendant’s cellular phone in the motor vehicle. This
       request is limited to the date of the accident. This request also includes any and all documents
       demonstrating the following:
                               a.       Calls;
                               b.       Text messages;


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                              c.     Instant messages
                              d.     Communications of any sort, including but not limited to data
                                     transmissions, reception and usage; and
                              e.     Locations of cellular towers.


           III.       REQUEST FOR PRIVILEGE LOG TO BE ANSWERED
                         WITHIN 50 DAYS OF SERVICE

Privilege Log: If you are withholding documents based upon the assertion of a privilege, please
produce a privilege log in accordance with Rule 193.3 (b), detailing with reasonable particularity
a description of the documents withheld, the number of documents, and the privilege which you
claim properly precludes the information from being discovered. Specifically do the following:

   (a)     Detail the privilege asserted;
   (b)     Provide the title of the document(s) upon which the privilege is asserted;
   (c)     Provide the general substance of the document(s) upon which you claim there is a
           privilege;
   (d)     Identify the location and custodian of the document(s)
   (e)     Give a brief description why, in your view, the privilege shields the document from
           discovery; and
   (f)     Bates stamp the documents upon which you claim there is a privilege for in camera
           inspection at a later hearing.




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                              CAUSE NO. _________________

 GUDMECINDO BAHENA SEGURA,                        IN THE DISTRICT COURT

                        Plaintiff,


 v.                                               _____ JUDICIAL DISTRICT


 ROEHL TRANSPORT, INC. AND
 CHARLIE MCFADDEN,
              Defendants.                         DALLAS COUNTY, TEXAS


     PLAINTIFF’S FIRST REQUEST FOR WRITTEN DISCOVERY TO
 DEFENDANT CHARLIE MCFADDEN REQUEST FOR PRIVILEGE LOG TO
                DEFENDANT CHARLIE MCFADDEN

TO: DEFENDANT, CHARLIE MCFADDEN at 1014 W Stanfil Street, Hahira, Georgia
31632

       COMES NOW, GUDMECINDO BAHENA SEGURA, Plaintiff in the above styled

cause of action and serves PLAINTIFF'S FIRST REQUEST FOR WRITTEN DISCOVERY

upon Defendant, CHARLIE MCFADDEN, as allowed by Tex.R.Civ.P. 192 through 197.

Defendant must answer each request separately, fully, in writing, and under oath, within fifty (50)

days after service.




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                                    Respectfully submitted,
                                    THE LAW FIRM OF AARON A. HERBERT



                                    BY:___________________________________
                                       AARON L. GENTHE
                                       State Bar No. 24093610
                                       efileagenthe@texaslegaladvice.com
                                       8330 LBJ Freeway, STE 700
                                       Dallas, Texas 75243
                                       Phone (214)347-4259
                                       Fax (214)983-0462
                                       ATTORNEY FOR PLAINTIFF




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                         FIRST SET OF INTERROGATORIES
       Pursuant to Rule 197 of the TEXAS RULES OF CIVIL PROCEDURE, you are requested to

answer, within fifty (50) days of service of this request, the following Interrogatories.

                                    Preliminary Statement

       1. The following interrogatories are to be answered separately and fully, by furnishing all
information in your possession, custody or control, including all information to which you have
a superior right to compel from a third party, such as your agent, authority, or representative.

       2. You are to answer the interrogatories under oath. Your attorney in this case is not
allowed to sign or swear to the answers you have made to the interrogatories.

       3. You and your attorney are under a duty to supplement your answers to these
interrogatories by amending your answers if you obtain information upon the basis of which you
know that the answer was incorrect when made or you know that the answer is no longer true,
even though it was correct when made.

         4. Whenever an interrogatory requests the identification of a document or documents,
please set forth where the document exists, the name and address of its custodian, a description
of its contents, including its author, date, and addresses, the number of pages it contains, and all
attachments to the original document.

       5. If the answer to any interrogatory may be derived or ascertained from your business
records, and the burden of deriving the answer would be substantially the same for Plaintiff and
you, you may specify the records from which the answer may be obtained.

                                 Definitions & Abbreviations

        Plaintiff sets forth the following definitions or abbreviations of various words and
phrases that are contained in the Interrogatories. Plaintiff provides the following definitions and
abbreviations for the purpose of clarifying the meaning of various words and phrases contained
herein in order to expedite discovery, i.e., (1) to help the Defendant fully and accurately
understands the objectives of Plaintiff’s discovery efforts and (2) to simplify and assist the
Plaintiff in Plaintiff’s efforts to locate and furnish the relevant information and documents. It is
expressly stipulated and agreed by Plaintiff’s that an affirmative response on the part of
Defendant will not be construed as an admission that any definition or abbreviation contained
hereto is either factually correct or legally binding on Defendant.

       A. DEFENDANT: As used herein, the term "Defendant" means CHARLIE
MCFADDEN, his agents, representatives, and all other persons acting in concert with him, or
under his control, whether directly or indirectly, excluding his attorney.
       B. PLAINTIFF: As used herein, the term “Plaintiff(s)” means GUDMECINDO
BAHENA SEGURA, his agents, representatives, and all other persons acting in concert with him,
or under his control, whether directly or indirectly, excluding his attorney.

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       C. MULTIPLE PART ANSWERS: Where an individual interrogatory calls for an
answer which involves more than one part or subpart, each part of the answer should be set forth
separately so that it is clearly understandable and responsive to the respective interrogatory or
subpart thereof.

        D. YOU OR YOUR: Where the term "you or your" is used in the interrogatories or
instructions, it is meant to include the person(s) referenced in definition "A" above.
        E. WRITING OR WRITTEN: The term "writing" or "written" are intended to include,
but not necessarily be limited to the following: hand writing, type writing, computer printouts,
printing, photograph, and every other means of recording upon any tangible thing or any form of
communication, including letters, words, pictures, sounds or symbols or combinations thereof; and
they further include any oral communication later reduced to writing or confirmed by a letter.
        F. DOCUMENT(S): The term "documents" shall mean writings of every type and
from any source, including originals and non-identical copies thereof, that are in your
possession, custody, or control or known by you to exist. This would include documents sent
outside your organization to any source as well as documents intended for internal use. The term
also includes communications not only in words, but also in symbols, pictures, sound recordings,
film, tapes and information stored in, or accessible through, computer or other information
storage or retrieval systems. If the information is kept in a computer or informational retrieval
system, the term also includes codes and programming instructions and other materials necessary
to understand such systems. The term includes, but is not limited to: calendars, checkbooks,
agenda, agreements, analyses, bills, invoices, records of obligations and expenditures, corporate
bylaws and charters, correspondence, diaries, files, legal documents, financial documents
including balance sheets and profit and loss statements, letters, memorandum recording
telephone or in-person conferences, manuals, books, press releases, purchase orders, records,
schedules, memos of interviews, evaluations, written reports of tests or experiments, public
relations releases, telegrams, teletypes, work papers, drafts of documents, and all other writings
whose contents relate to the subject matter of the discovery request.

       G. FILE: “File” as used herein means any collection or group of documents maintained,
held, stored, or used together, including, without limitation, all collections of documents
maintained, held, or stored in folders, notebooks, or other devices for separating or organizing
documents.

        H. PERSON: "Person" as used herein means any natural person, corporation, firm,
association, partnership, joint venture, proprietorship, governmental body, or any other
organization, business, or legal entity, and all predecessors or successors in interest.
        I. PERSON(S) IDENTITY: When an interrogatory requests that you identify a person
please state:
               1.     His or her full name;
               2.     His or her present or last known address;
               3.     His or her present employers name and address; and
               4.     His or her occupational position or classification.



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       J. “DESCRIBE”, "IDENTIFY" or "IDENTIFICATION":

               6.       As to a person: When used in reference to a person or individual, the
                       terms “describe” "identify" or "identification" mean to state her/her full
                       name, address, and telephone number.
               7.      As to an entity: The terms “describe”, "identify" or identification" when
                       used in reference to an entity such as a corporation, partnership or
                       association, mean to state the name of the entity, its business address,
                       telephone number, and name of its chief executive officer and the agent
                       for service of process.
               8.      As to a document: When used in reference to a document, the terms
                       “describe”, "identify" or "identification" shall include the following:
                               e.     The title, heading or caption of such document.
                               f.     The date appearing on such document; or if no date
                                      appears, the approximate date on which the document was
                                      prepared.
                               g.     A general description of the document.
                               h.     The name of the person who signed the document or
                                      statement that it was unsigned.
                               f.         Name of the person or persons who prepared the
                                       document.
                                 f.           Name of the person or persons to whom the
                                       document was addressed and to whom the
                                       document was sent.
                               h.      The physical location of the document.
               9.      As to a statement: When used in reference to a statement, the terms
                       “describe”, "identify" or "identification" shall include who made the
                       statement, who took or recorded it, and all others, if any, present during
                       the making thereof; to state when, where and how it was taken or
                       recorded, and to identify who was present or last known possession,
                       custody or control thereof.
               10.     To any other tangible thing: When used in reference to any other tangible
                       thing, the terms “describe”, "identify" or "identification" mean to give a
                       reasonably detailed description thereof, including, if applicable, when,
                       where, and how it was made; to identify who made it; and to identify who
                       has present or last known possession, custody or control thereof.

        K. COLLISION IN QUESTION: The term "collision" or "collision in question" or
similar reference as used herein refers to the Collision or Collision in Question described in
Plaintiff’s Original Petition, unless otherwise defined herein, and which forms the subject matter in
this suit.

        L. INCIDENT IN QUESTION: The term "incident" or "incident in question" or
similar reference as used herein refers to the Collision or Collision in Question described in
Plaintiff’s Original Petition, unless otherwise defined herein, and which forms the subject matter in
this suit.

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       M. STATEMENTS: The term “statement” or “statements” includes any written or
graphic statement signed or otherwise adopted or approved by the person making it and any
stenographic, mechanical, electrical, or other recordings, or a transcription thereof, which is a
substantially verbatim recital of an oral statement by the person making it and
contemporaneously recorded.

       N. VEHICLE IN QUESTION: The term “vehicle in question” means the vehicle
driven by Defendant at the time of the incident in question.

       O. “AND” “OR”: The word "and" means "and/or." The word "or" means "or/and."




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                                    II. INTERROGATORIES

1. State your full and complete name, any nicknames you have used, or been known by, date of
   birth, social security number, your present home address, telephone number and, if different,
   your complete home address and telephone number at the time of the collision in question.

2. If it is your contention that any individual other than yourself was operating the vehicle
   involved in, and at the time of the Incident in Question, state their full and complete name,
   any nicknames you know they have used or been known by, date of birth, social security
   number, present home address, telephone number and, if different, their complete home
   address and telephone number at the time of the collision in question.

3. At the time the collision in question occurred, was CHARLIE MCFADDEN employed? If
   so, please state the following as to such employment:

               a.      The identity of each employer, including their complete name(s) and
                       address(es);
               b.      The identity of the person who was CHARLIE MCFADDEN’s
                       immediate supervisor in reference to services you performed;
               c.      The beginning and ending dates of CHARLIE MCFADDEN’s
                       employment or present status of employment; and
               d.      What CHARLIE MCFADDEN’s job position and duties were with
                       respect to each employment.

4. Please list each state that has issued CHARLIE MCFADDEN a motor vehicle drivers’
   license (including a commercial drivers license) in the last ten (10) years, including those
   licenses that may have now expired or been canceled, withdrawn, suspended, surrendered, or
   revoked, listing the name of each issuing state and the approximate date of issuance and
   status for each license held.

5. If you have entered a guilty plea to any offense or have been convicted of a felony or a crime
   involving moral turpitude within the last ten (10) years, identify any such offense or crime by
   its nature, date of the guilty plea or conviction, penalty assessed, and the county and state
   wherein the offense or crime occurred.

6. Please state each and every address where you have resided in the last ten (10) years, setting
   forth the approximate dates of your residence at each such address.

7. List all traffic violations for which CHARLIE MCFADDEN has been cited during the past
   seven (7) years, including the date, city, county, state, offense alleged, and disposition of each
   such citation.
8. List all motor vehicle collisions in which CHARLIE MCFADDEN has been involved in the
   past seven (7) years, including the location, city, county, state, and any violations for which
   you were cited.


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9. Did anyone, after the collision in question occurred, make a recording, either in writing or by
   use of electronic recording equipment of your version of the Collision in Question either in
   person or by telephone? If so, please identify each such person, their title, and organization
   to which they are employed or associated, and the approximate date, time and location of
   each such occurrence indicating the method utilized in recording their version of the
   collision. Identify the Custodian of such statement(s).

10. Please state the name, address, and telephone number of any expert(s) with whom you or
    your attorneys have consulted, but whom you do not intend to call as an expert witness in
    this case or whom you have not decided to call as an expert witness in this case, but whose
    opinion(s) and/or impression(s) have been reviewed by any expert who is to be called as a
    witness at the trial of this case.

11. Identify by name and amount all intoxicating beverages, drugs, alcohol, and/or medications,
    prescription or otherwise, that CHARLIE MCFADDEN had taken or consumed within (24)
    twenty-four hours prior to the collision in question.

12. Describe in your own words how the Collision in Question occurred and state specifically
    what the claim or contention of the Defendant will be regarding any cause or contributing
    cause of the collision, including a statement in detail of the facts or information upon which
    this contention is based.

13. If you contend either of Plaintiff’s acts or omissions caused or contributed to the Collision in
    Question, or to their injuries, please describe the basis for your position, including any
    evidence or statements that support your position.

14. Identify by cause number, style, court, county, and state each lawsuit to which you have ever
    been a party, other than this lawsuit.

15. Give the dates, times and places together with the names and addresses of persons and
    organizations that have provided drug or alcohol counseling or treatment, marriage
    counseling, or personal counseling to you in the past ten (10) years.

16. Specify all mechanical or other defects, if any, of the vehicle CHARLIE MCFADDEN was
    driving which caused or contributed to the collision made the basis of this suit, including, but
    not limited to, all components of the vehicle which were inoperable, defective or otherwise
    in need of repair.

17. State where CHARLIE MCFADDEN had been just prior to the collision, where CHARLIE
    MCFADDEN was going at the time of the collision and the purpose of the trip that
    CHARLIE MCFADDEN was on at the time of the collision made the basis of this suit.

18. State the speed of the vehicle at all times material to the collision in question, including
    specifically CHARLIE MCFADDEN’s speed at the time of impact and, if CHARLIE
    MCFADDEN’s brakes were engaged at the time of impact, please state CHARLIE
    MCFADDEN’s speed before applying the brakes.

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19. Identify any account from which payment was made for fines stemming from any traffic
    violation or citation received by CHARLIE MCFADDEN prior to or relating to Collision in
    Question.

20. Identify all persons whom you intend to have testify at the trial of this case, including but not
    limited to any rebuttal or impeaching witnesses who may be called at trial.
21. With regard to any phones that were in your vehicle at the time of the accident in question,
    please state:
                   a. The name, address, and telephone number of the provider (on the date of
                      the accident) of the phone services for said phone;
                   b. State the telephone number (on the date of the accident) for said phone;
                   c. State the account number for said phone on the date of the accident;
                   d. State the full name, address, and telephone number of the person in
                      whose name the phone was listed on the date of the accident; and
                   e. State the full name, address, and telephone number of the person in
                      whose name the phone services account (on the date of the accident) was
                      listed.




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                     III.        FIRST REQUESTS FOR PRODUCTION

       Pursuant to Rule 196 of the TEXAS RULES OF CIVIL PROCEDURE, you are requested to

produce, within fifty (50) days of service of this request, the following information. Demand is

hereby made for supplementation of the Defendant's responses to this Request for Production

as required by TEXAS RULE OF CIVIL PROCEDURE 193.5.

                                   Definitions & Instructions

       For purposes of the following Requests, the following definitions and instructions apply:

        "You", "Your" and "Defendant" means and refers to the named Defendant responding to
the request, as well as your attorneys, agents, employees, and all other natural persons or business
or legal entities acting, or purporting to act, for or on your behalf whether authorized to do so or
not.

       “Collision in Question” and “Incident in Question” means and refers to the collision
described in Plaintiff’s Original Petition.

    “Vehicle in Question” means and refers to the vehicle driven by CHARLIE
MCFADDEN, involved in the Collision in Question.

        "Document" means and includes writings of every type and from any source, including
originals and non-identical copies thereof, that are in your possession, custody, or control or
known by you to exist. This would include documents sent outside your organization to any source
as well as documents intended for internal use.

        The term also includes communications not only in words, but in symbols, pictures, sound
recordings, film, tapes and information stored in, or accessible through, computer or other
information storage or retrieval systems. If the information is kept in a computer or informational
retrieval system, the term also includes codes and programming instructions and other materials
necessary to understand such systems.

        The term includes, but is not limited to: calendars, checkbooks, agenda, agreements,
analyses, bills, invoices, records of obligations and expenditures, corporate bylaws and charters,
correspondence, diaries, files, legal documents, financial documents including balance sheets and
profit and loss statements, letters, memorandum recording telephone or in-person conferences,
manuals, books, press releases, purchase orders, records, schedules, memos of interviews,
evaluations, written reports of tests or experiments, public relations releases, telegrams, teletypes,
work papers, drafts of documents, and all other writings whose contents relate to the subject
matter of the discovery request.

       "Custodian" means the person or entity with care, custody, control of the item or document

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that is subject of inquiry. A request to identify the custodian of any item or document is a request
to provide the name, address and telephone number of said custodian.

      "Photograph" means and includes any motion picture, still picture, transparency, videotape,
drawing, sketch, electronic image, negatives or any other recording of any non-verbal
communication in tangible form.

        You are not asked to divulge or provide any information or documents which are privileged
in nature. However, for each document or other requested information that you assert is
privileged or is not discoverable, identify that document or other requested information. State the
specific grounds for the claim or privilege or other ground for exclusion.

      If a requested document once was but is no longer in the possession, custody or control of
Defendant or any of its representatives, state what disposition was made of such document.

       If any of these requests cannot be responded to in full, please respond to the extent
possible, specifying the reason for Defendant’s inability to fully respond, and stating whatever
information or knowledge Defendant has concerning the portion to which Defendant cannot fully
respond.

       Pursuant to Overall v. Southwestern Travis Yellow Pages, a party is required to send the
documents to the requesting party along with a copy of the response. Unless these are thousands
of documents, a party is not permitted to merely make documents available at a specific location.
869 S.W.2d 629 (Tex. App.–Houston [14th Dist.] 1994).




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                             IV. REQUESTS FOR PRODUCTION


        Pursuant to Rule 196, Texas Rules of Civil Procedure, Defendant is requested to produce and
permit the inspection and copying of the following documents:

1.      Any and all documents, including but not limited to invoices, repair bills or estimates,
        reflecting the damage to any vehicle involved in the collision in question.

        RESPONSE:

2.      Any and all photographs, videotapes, or other depictions of any vehicle involved in the
        collision in question.

        RESPONSE:

3.      Any and all photographs of the scene of the collision in question.

        RESPONSE:

4.      Any and all photographs that you intend to use at trial.

        RESPONSE:

5.      Any and all photographs, videotapes or other depictions of Plaintiff.

        RESPONSE:

6.      Any and all photographs, videotapes or other depictions of TRUCK DRIVER.

        RESPONSE:

7.      Any and all witness statements.

        RESPONSE:

8.      Any and all statements from Plaintiff.

        RESPONSE:

9.      Any and all statements from any Defendant, Defendant's agents or employees relating to the
        incident in question.

        RESPONSE:

10.     Any and all documents related to TRUCK DRIVER's employment with ROEHL

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      TRANSPORT, INC.

      RESPONSE:

11.   Any and all documents related to the maintenance, repair, acquisition, loads, operation or
      travel of the vehicle involved in the collision in question. These documents should include,
      but are not limited to, trip sheets, fuel receipts, work orders, bills of lading, maintenance
      records, operations manuals, vehicle condition reports and other documents obtained
      regarding the vehicle.

      RESPONSE:

12.   Produce any and all documents regarding any unemployment claim, worker’s compensation
      claim or any other type of claim filed by CHARLIE MCFADDEN relating to his employment
      with ROEHL TRANSPORT, INC.

      RESPONSE:

13.   Any and all pictures, drawings, photographs or videotapes in your possession or subject to
      your control that are relevant and material to this cause of action, including but not limited to
      those showing the Plaintiffs, those showing any of the vehicles, or any part of the vehicles,
      involved in the collision in question, or those showing the location of such collision.

      RESPONSE:

14.   Any information relating to any conviction to be used for impeachment purposes against any
      party, witness, and/or person with knowledge of facts named in discovery information
      provided to you before trial. Please include the name of the person convicted, the offense for
      which he or she was convicted, the year of such conviction, the court of such conviction and
      the sentence involved.

      RESPONSE:

15.   Any written, taped or mechanically reproduced statement heretofore made of Plaintiff,
      Defendants, and/or Defendants' agents or employees.

      RESPONSE:

16.   Any records or documentation (medical or non-medical) concerning CHARLIE
      MCFADDEN that would indicate whether CHARLIE MCFADDEN was using alcohol
      and/or drugs (including prescription or nonprescription, legal or illegal drugs) within forty-
      eight (48) hours prior to the collision in question.

      RESPONSE:

17.   Any records or documentation (medical or non-medical) concerning CHARLIE
      MCFADDEN that would indicate that he had alcohol and/or drugs (including prescription or

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      nonprescription, legal or illegal), or metabolites of alcohol and/or drugs (including
      prescription or nonprescription, legal or illegal) in the bloodstream or urine at the time of or
      the time following the collision in question.

      RESPONSE:


18.   Any records or documentation (medical or non-medical) that would indicate that CHARLIE
      MCFADDEN was a regular user of any illegal substance(s) within one (1) year preceding the
      collision in question.

      RESPONSE:

19.   A photostatic copy of the front and back of TRUCK DRIVER's current driver’s license and
      any commercial license.

      RESPONSE:

20.   A copy of any company vehicle use records for the one hundred eighty (180) days preceding
      and including the date of the collision in question.

      RESPONSE:

21.   Any documentation concerning CHARLIE MCFADDEN involving disciplinary actions,
      demerits, reprimands or incidents indicating less than satisfactory job performance.

      RESPONSE:

22.   All manuals, instructions, guidelines, directives, or memoranda concerning the performance
      or execution of the position held by CHARLIE MCFADDEN at the time of the collision in
      question.

      RESPONSE:

23.   All records, notes, files, memoranda, or other similar documentation indicating an awareness
      on your part that CHARLIE MCFADDEN was an unsafe driver.

      RESPONSE:

24.   All documents relating to reservation of rights or denial of coverage on the part of any
      insurance carrier for any of the named defendants with respect to this claim.

      RESPONSE:

25.   If you contend that you had a good faith belief to reasonably anticipate that there was a
      substantial chance that litigation would ensue on behalf of Plaintiff prior to the date you
      received notice of this lawsuit, please produce all correspondence, memoranda, statements,

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      tape recordings, transcripts of tape recordings, wire reports, investigation reports, close-out
      reports, summaries or any other documents, as well as any other tangible things that you
      contend showed an outward manifestation that would indicate that there was a substantial
      chance that litigation would ensue.

      RESPONSE:

26.   Any reports, memoranda, documents or materials of any type which specifically indicate a
      date or occurrence on which you rely for any contention that you had a good faith belief to
      reasonably anticipate that there was a substantial chance that litigation would ensue
      concerning any injury or damages claimed on behalf of Plaintiff.

      RESPONSE:

27.   Any insurance policies that provide, or may provide, coverage for the collision in question.

      RESPONSE:

28.   Any reservation of rights letters or non-waiver agreements.

      RESPONSE:

29.   Any cell phone bills that would show whether or not CHARLIE MCFADDEN was using a
      cell phone on the date of the wreck. This request includes, but is not limited to, cell phone
      bills for the day of the wreck.

      RESPONSE:

30.   All cell phone bills and records for any cell phone used by CHARLIE MCFADDEN for the
      period starting one hundred eighty (180) days before the wreck and ending fourteen (14) days
      after the wreck.

      RESPONSE:

31.   Provide all GPS and other electronic data and records, including but not limited to all
      Qualcomm Satellite Communication tracking information showing the location of the truck
      in the incident at issue in this lawsuit for the period starting one hundred eighty (180) days
      before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

32.   All expense receipts and reports submitted by CHARLIE MCFADDEN for the period
      starting one hundred eighty (180) days before the wreck and ending fourteen (14) days after
      the wreck.

      RESPONSE:



PLAINTIFF’S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT
  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                  Page 49 of 77 PageID 53

33.   All incident reports generated by CHARLIE MCFADDEN or ROEHL TRANSPORT, INC.
      regarding the collision at issue in this lawsuit.

      RESPONSE:

34.   If, during the time period starting one hundred eighty (180) days before the wreck and ending
      fourteen (14) days after the wreck, CHARLIE MCFADDEN drove a truck and/or trailer
      different than the ones at issue in this lawsuit, provide all GPS and other electronic data and
      records, including but not limited to all Qualcomm Satellite Communication and
      OmniTRACS tracking information showing the location of the truck and trailer driven by
      CHARLIE MCFADDEN for that time period.

      RESPONSE:

35.   TRUCK DRIVER’s log books for the period starting one hundred eighty (180) days before
      the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

36.   ROEHL TRANSPORT, INC.’s complete driver qualification file on TRUCK DRIVER.

      RESPONSE:

37.   All personnel files, accident files, and other files and documents that ROEHL TRANSPORT,
      INC. maintains or possesses regarding TRUCK DRIVER.

      RESPONSE:

38.   All fuel receipts, bills of lading, weigh tickets, and toll receipts for any vehicle operated by
      CHARLIE MCFADDEN during the period starting one hundred eighty (180) days before the
      wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

39.   All Qualcomm records and data regarding any vehicle operated by TRUCK DRIVER, and
      any communications to and from TRUCK DRIVER, for the period starting one hundred
      eighty (180) days before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

40.   All documents and data that shows the speed, location, ignition status, brake status,
      acceleration, deceleration, sudden stops, and other information regarding any vehicle
      operated by CHARLIE MCFADDEN during the period starting one hundred eighty (180)
      days before the wreck and ending fourteen (14) days after the wreck. The scope of this
      request includes, but is not limited to, “black box” data, crash data recorders, OmniTRACS
      data, Qualcomm data, GPS data, XATA data, JETT-Track, DriveOk, FleetMatics, Fleet
      Management Solutions, Fleetilla, Shadow Tracker, Trimble, and any other data source.

PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17               Page 50 of 77 PageID 54


      RESPONSE:

41.   All monthly log summary sheets for CHARLIE MCFADDEN for the period starting one
      hundred eighty (180) days before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

42.   All notice of logging violations for CHARLIE MCFADDEN for the period starting one
      hundred eighty (180) days before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

43.   The accident register for ROEHL TRANSPORT, INC.

      RESPONSE:

44.   All safety performance history records regarding TRUCK DRIVER.

      RESPONSE:

45.   All driver’s vehicle inspection reports completed by CHARLIE MCFADDEN for the period
      starting one hundred eighty (180) days before the wreck and ending fourteen (14) days after
      the wreck.

      RESPONSE:

46.   All pretrip check lists completed by CHARLIE MCFADDEN for the period starting one
      hundred eighty (180) days before the wreck and ending fourteen (14) days after the wreck.

      RESPONSE:

47.   The vehicle accident kit issued to TRUCK DRIVER.

      RESPONSE:

48.   An exemplar blank vehicle accident kit used by ROEHL TRANSPORT, INC.

      RESPONSE:

49.   All dispatch and trip reports regarding any vehicle operated by CHARLIE MCFADDEN for
      the period starting one hundred eighty (180) days before the wreck and ending fourteen (14)
      days after the wreck.

      RESPONSE:

50.   All trip cost report envelopes for any vehicle operated by CHARLIE MCFADDEN for the

PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                Page 51 of 77 PageID 55

      period starting one hundred eighty (180) days before the wreck and ending fourteen (14) days
      after the wreck.

      RESPONSE:

51.   All OmniTRACS data regarding any vehicle operated by CHARLIE MCFADDEN for the
      period starting one hundred eighty (180) days before the wreck and ending fourteen (14) days
      after the wreck.

      RESPONSE:

52.   Copies of all documents obtained by deposition on written question or subpoena.

      RESPONSE:

53.   All documents regarding any audits or examinations performed of ROEHL TRANSPORT,
      INC. by any state or federal agency, including but not limited to any state department of
      transportation, any state department of motor vehicle, the U.S. Department of Transportation,
      and the Federal Motor Carrier Safety Administration.

      RESPONSE:

54.   Exact copies of the Defendant’s insurance claim file that was generated from the date of the
      incident made the basis for this suit until the date this lawsuit was filed

      RESPONSE:




PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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               V. REQUEST FOR PRIVILEGE LOG TO BE ANSWERED
                       WITHIN 50 DAYS OF SERVICE

Privilege Log: If you are withholding documents based upon the assertion of a privilege, please
produce a privilege log in accordance with Rule 193.3 (b), detailing with reasonable particularity
a description of the documents withheld, the number of documents, and the privilege which you
claim properly precludes the information from being discovered. Specifically do the following:

   (g)     Detail the privilege asserted;
   (h)     Provide the title of the document(s) upon which the privilege is asserted;
   (i)     Provide the general substance of the document(s) upon which you claim there is a
           privilege;
   (j)     Identify the location and custodian of the document(s)
   (k)     Give a brief description why, in your view, the privilege shields the document from
           discovery; and
   (l)     Bates stamp the documents upon which you claim there is a privilege for in camera
           inspection at a later hearing.




PLAINTIFF’S FIRST REQUEST FOR WRITTEN
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                               VI. REQUESTS FOR ADMISSIONS

        Pursuant to Rule 198 of the TEXAS RULES OF CIVIL PROCEDURE, you are requested to

answer, within fifty (50) days of service of this request, the following Requests for Admissions.

                                             Definitions

        For purposes of the following Requests, the following definitions apply:


        “You,” “Your,” and “Defendant” means and refers to the named Defendant responding to

these requests.

        “Incident in Question” means and refers to the collision referred to in Plaintiff’s Original

Petition.

        “Vehicle in Question” refers to the automobile driven by Defendant, involved in the Incident in

Question.

                            VII.        REQUESTS FOR ADMISSIONS

1.      On or about February 19, 2016, Plaintiff and Defendant were involved in an automobile
        collision in DALLAS COUNTY, Texas. (hereinafter referred to as incident, collision, accident
        or occurrence).

        RESPONSE:

2.      At the time of the collision Defendant was the driver of the vehicle which collided with
        Plaintiff’s vehicle.

        RESPONSE:

3.      Defendant contends the cause of the collision was Plaintiff’s negligence.

        RESPONSE:

4.      Defendant had physical infirmities which contributed to the cause of the collision.

        RESPONSE:

5.      Defendant is aware of the identity of witnesses to the collision other than those listed on the
        Texas Peace Officer’s accident report.

        RESPONSE:


PLAINTIFF’S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT
     Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                  Page 54 of 77 PageID 58

6.      Defendant or agents of Defendant, including Defendant’s attorney or insurance company, have
        pictures or photographs illustrating the scene of the accident or damage to the vehicles involved
        in the collision.

        RESPONSE:

7.      Defendant has been convicted of a felony or a crime involving moral turpitude.

        RESPONSE:


8.      The Defendant was under the care of a medical practitioner or other practitioner of the healing
        arts during the month before the collision.

        RESPONSE:

9.      The Defendant was under the influence of drugs or alcohol when the collision occurred.

        RESPONSE:

10.     The Defendant had ingested or consumed drugs or alcohol within the 24 hours before the
        collision.

        RESPONSE:

11.     The Defendant has possession, custody, or control of a copy of a written statement or a
        recorded oral statement made by the Defendant relating to the collision.

        RESPONSE:

12.     The Defendant was acting as an agent for a person or entity at the time of the collision.

        RESPONSE:

13.     Defendant consumed at least one alcoholic drink in the six hour period prior to your collision
        with the Plaintiff’s vehicle on the date of the accident made the basis of this lawsuit.

        RESPONSE:

14.     Defendant consumed at least two alcoholic drinks in the six hour period prior to your collision
        with the Plaintiff’s car on the date of the accident made the basis of this lawsuit.

        RESPONSE:


15.     Admit or Deny that Defendant was engaged in conversation on a telephone at the time of the
        accident made the basis of this lawsuit.

        RESPONSE:


PLAINTIFF’S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT
  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                Page 55 of 77 PageID 59

16.   Admit or Deny that Defendant was dialing a telephone at the time of the accident made the
      basis of this lawsuit.

      RESPONSE:

17.   Admit or deny you were text messaging at the time of the collision.

      RESPONSE:

18.   Admit or deny you had sent a text message within one minute prior to the collision.

      RESPONSE:

19.   Admit or deny you had sent a text message within five minutes prior to the collision.

      RESPONSE:

20.   Admit or deny you had received a text message within one minute prior to the collision.

      RESPONSE:

21.   Admit or deny you had received a text message within five minutes prior to the collision.

      RESPONSE:

22.   Admit or deny at the time of the collision you were holding your cell phone in your hand.

      RESPONSE:

23.   Admit or deny at the time of the incident in question you were using your cell phone.

      RESPONSE:

24.   Admit or deny you were using a cellular phone application (aka “app”) at the time of the
      collision.

      RESPONSE:

25.   Admit or deny you were browsing the internet on your cellular phone at the time of the
      collision.

      RESPONSE:

26.   Admit or deny that you were streaming music using your cellular phone at the time of the
      collision.

      RESPONSE:


27.   Admit or deny you were updating an application (aka “app”) on your cellular phone at the time

PLAINTIFF’S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT
  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                 Page 56 of 77 PageID 60

      of the collision.

      RESPONSE:

28.   Admit or deny you were looking at your cellular phone at the time of the collision.

      RESPONSE:

29.   Admit or deny that you were looking at your cellular phone within five seconds prior to the
      collision.

      RESPONSE:

30.   Admit or deny that you had a cellular phone in your vehicle at the time of the collision.

      RESPONSE:




PLAINTIFF’S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT
FORM NO. 353-4—CITATION                                                                                                           ESERVE (SOS)
THE STATE OF TEXAS      Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                                Page 57 of 77 PageID 61

To:     ROEHL TRANSPORT, INC.                                                                                                              CITATION
        BY SERVING THE SECRETARY OF STATE
        OFFICE OF THE SECRETARY OF STATE
        CITATIONS UNIT - P.O. BOX 12079                                                                                                 No.: DC-17-08345
        AUSTIN, TX, 78711
                                                                                                                              GUDMECINDO BAHENA SEGURA
                                                                                                                                          vs.
GREETINGS:                                                                                                                     ROEHL TRANSPORT, INC., et al
You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you
were served this citation and petition, a default judgment may be taken against you.                                                    ISSUED
 Your answer should be addressed to the clerk of the 134th District Court                                                 ON THIS THE 17TH DAY OF JULY, 2017
at 600 Commerce Street, Dallas, Texas 75202.

 Said PLAINTIFF being GUDMECINDO BAHENA SEGURA                                                                           FELICIA PITRE
                                                                                                                         Clerk District Courts,
 Filed in said Court 11th day of July, 2017 against ROEHL TRANSPORT, INC.                                                Dallas County, Texas
 For suit, said suit being numbered DC-17-08345 the nature of which demand is as follows:                                 By DENOSHA BOSTON, Deputy
 Suit On MOTOR VEHICLE ACCIDENT etc.                                                                                     ___________________________________
as shown on said petition REQUEST FOR DISCLOSURE, INTERROGATORIES, PRODUCTION AND
ADMISSIONS, a copy of which accompanies this citation. If this citation is not served, it shall be returned              Attorney for : Plaintiff
unexecuted.                                                                                                               AARON L GENTHE
                                                                                                                          8330 LYNDON B JOHNSON FRWY
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                             SUITE 700
 Given under my hand and the Seal of said Court at office on this the 17th day of July, 2017                              DALLAS TX 75243
ATTEST: FELICIA PITRE
Clerk of the District Courts of Dallas, County, Texas
                                      /s/ Denosha Boston
                        By__________________________________, Deputy
                                     DENOSHA BOSTON
                                     Case 3:17-cv-02239-B Document 1-1 Filed
                                                                OFFICER'S    08/23/17
                                                                          RETURN                               Page 58 of 77 PageID 62
                                                                              FOR INDIVIDUALS
Cause No. DC-17-08345

Court No: 134th District Court

Style: GUDMECINDO BAHENA SEGURA
vs.
ROEHL TRANSPORT, INC., et al

          Received this Citation the __________day of_______________, 20_____at__________o'clock. Executed at _______________, within the County of
_______________________________________, State of_____________, on the __________day of _______________, 20_____, at ______o'clock, by
delivering to the within named___________________________________________ each in person, a copy of this Citation together with the accompanying copy of Plaintiff's original
petition, having first indorsed on same the date of delivery.
                                                                            ----------000000----------

                                                                                   OFFICER'S RETURN
                                                                                  FOR CORPORATIONS
Received this Citation the __________day of_______________, 20_____at__________o'clock ___.M. Executed at _______________, within the County of
_______________________________________, State of___________________, on the __________day of _______________, 20_____, at _________ o'clock ____ .M. by summoning
the within named Corporation, ______________________ by delivering to _____________________________________ __________________________________________
         ____________ President - Vice President - Registered Agent - in person, of the said
________________________________________________________________________________________________________________________
         a true copy of this citation together with the accompanying copy of Plaintiff's original petition, having first indorsed on same the date of delivery.
                                                                                   ----------000000----------

The distance actually traveled by me in serving such process was _________ miles and my fees are as follows:    To certify which witness by my hand.
For Serving Citation       $_______________                   Sheriff___________________________________
For Mileage                $_______________                   County of________________________________
For Notary                 $_______________                   State of__________________________________
         Total Fees        $_______________                   By______________________________________

(Must be verified if served outside the State of Texas)
State of__________________________________
County of________________________________
         Signed and sworn to me by the said___________________________before me this__________
day of _____________________________, 20______, to certify which witness my hand and seal of office.
                                                                                                                             ____________________________________________

                                                   Seal                                                                         State & County of
                                                                                                                            _____________________________________________
FORM NO. 353-4—CITATION                                                                                                           ESERVE (COH)
THE STATE OF TEXAS      Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                                Page 59 of 77 PageID 63

To:     CHARLIE MCFADDEN                                                                                                                   CITATION
        BY SERVING TRYON D. LEWIS, CHAIRMAN
        TEXAS TRANSPORTATION COMMISSION
        125 E. 11TH STREET                                                                                                              No.: DC-17-08345
        AUSTIN, TX, 78701
                                                                                                                              GUDMECINDO BAHENA SEGURA
                                                                                                                                          vs.
GREETINGS:                                                                                                                     ROEHL TRANSPORT, INC., et al
You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you
were served this citation and petition, a default judgment may be taken against you.                                                    ISSUED
 Your answer should be addressed to the clerk of the 134th District Court                                                 ON THIS THE 17TH DAY OF JULY, 2017
at 600 Commerce Street, Dallas, Texas 75202.

 Said PLAINTIFF being GUDMECINDO BAHENA SEGURA                                                                           FELICIA PITRE
                                                                                                                         Clerk District Courts,
 Filed in said Court 11th day of July, 2017 against CHARLIE MCFADDEN                                                     Dallas County, Texas
 For suit, said suit being numbered DC-17-08345 the nature of which demand is as follows:                                 By DENOSHA BOSTON, Deputy
 Suit On MOTOR VEHICLE ACCIDENT etc.                                                                                     ___________________________________
as shown on said petition REQUEST FOR DISCLOSURE, INTERROGATORIES, PRODUCTION AND
ADMISSIONS, a copy of which accompanies this citation. If this citation is not served, it shall be returned              Attorney for : Plaintiff
unexecuted.                                                                                                               AARON L GENTHE
                                                                                                                          8330 LYNDON B JOHNSON FRWY
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                             SUITE 700
 Given under my hand and the Seal of said Court at office on this the 17th day of July, 2017                              DALLAS TX 75243
ATTEST: FELICIA PITRE
Clerk of the District Courts of Dallas, County, Texas
                                   /s/ Denosha Boston
                        By__________________________________, Deputy
                                     DENOSHA BOSTON
                                     Case 3:17-cv-02239-B Document 1-1 Filed
                                                                OFFICER'S    08/23/17
                                                                          RETURN                               Page 60 of 77 PageID 64
                                                                              FOR INDIVIDUALS
Cause No. DC-17-08345

Court No: 134th District Court

Style: GUDMECINDO BAHENA SEGURA
vs.
ROEHL TRANSPORT, INC., et al

          Received this Citation the __________day of_______________, 20_____at__________o'clock. Executed at _______________, within the County of
_______________________________________, State of_____________, on the __________day of _______________, 20_____, at ______o'clock, by
delivering to the within named___________________________________________ each in person, a copy of this Citation together with the accompanying copy of Plaintiff's original
petition, having first indorsed on same the date of delivery.
                                                                            ----------000000----------

                                                                                   OFFICER'S RETURN
                                                                                  FOR CORPORATIONS
Received this Citation the __________day of_______________, 20_____at__________o'clock ___.M. Executed at _______________, within the County of
_______________________________________, State of___________________, on the __________day of _______________, 20_____, at _________ o'clock ____ .M. by summoning
the within named Corporation, ______________________ by delivering to _____________________________________ __________________________________________
         ____________ President - Vice President - Registered Agent - in person, of the said
________________________________________________________________________________________________________________________
         a true copy of this citation together with the accompanying copy of Plaintiff's original petition, having first indorsed on same the date of delivery.
                                                                                   ----------000000----------

The distance actually traveled by me in serving such process was _________ miles and my fees are as follows:    To certify which witness by my hand.
For Serving Citation       $_______________                   Sheriff___________________________________
For Mileage                $_______________                   County of________________________________
For Notary                 $_______________                   State of__________________________________
         Total Fees        $_______________                   By______________________________________

(Must be verified if served outside the State of Texas)
State of__________________________________
County of________________________________
         Signed and sworn to me by the said___________________________before me this__________
day of _____________________________, 20______, to certify which witness my hand and seal of office.
                                                                                                                             ____________________________________________

                                                   Seal                                                                         State & County of
                                                                                                                            _____________________________________________
Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17   Page 61 of 77 PageID 65
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Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17   Page 63 of 77 PageID 67
Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17   Page 64 of 77 PageID 68
Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17   Page 65 of 77 PageID 69
Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17   Page 66 of 77 PageID 70
                                                                                                                 FILED
                                                                                                     DALLAS COUNTY
                                                                                                     8/18/2017 2:19 PM
  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                Page 67 of 77 PageID 71               FELICIA PITRE
                                                                                                     DISTRICT CLERK



RTI.8798
                                   CAUSE NO. DC-17-08345

 GUDMECINDO BAHENA SEGURA                        §    IN THE DISTRICT COURT
                                                 §
 v.                                              §    134th JUDICIAL DISTRICT
                                                 §
 ROEHL TRANSPORT, INC., AND                      §    DALLAS COUNTY, TEXAS
 CHARLIE MCFADDEN

           DEFENDANT ROEHL TRANSPORT, INC.’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW ROEHL TRANSPORT, INC., Defendant named in the above entitled

and numbered cause, and files this its Original Answer, and for same would respectfully show

unto the Court as follows:

                                                I.

                                      GENERAL DENIAL

       Defendant denies each and every, all and singular, the material allegations contained

within Plaintiff’s pleadings and demands strict proof thereof.

                                                II.

                                        SECTION 18.091

       Defendant invokes Section 18.091 of the Texas Civil Practice and Remedies Code. To

the extent Plaintiff seeks recovery for loss of earnings, loss of earning capacity, loss of

contributions of a pecuniary value or loss of inheritance, the evidence to prove such loss must be

presented in the form of net loss after reduction of income tax payments or unpaid tax liability.

Defendant further requests the court to instruct the jury as to whether any recovery for

compensatory damages sought by Plaintiff is subject to federal or state income taxes.




DEFENDANT ROEHL TRANSPORT, INC.’S ORIGINAL ANSWER                                   Page 1
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                                               III.

                                         SECTION 41. 0105

        Defendant invokes Section 41.0105 of the Texas Civil Practice and Remedies Code. To

the extent Plaintiff seeks recovery of medical or healthcare expenses incurred, the evidence to

prove such loss must be limited to the amount actually paid or incurred by or on behalf of

Plaintiff. Defendant further requests the court to instruct the jury as to whether any recovery for

medical or healthcare expenses sought by Plaintiff is limited to the amount actually paid or

incurred by or on behalf of Plaintiff.

                                               IV.

                                         PAID V. INCURRED

        Defendant also asserts that it are entitled to a reduction in any award for medical

expenses to the extent that same is not actually paid or incurred. Defendant is further entitled to

a reduction as to any damage award for the full sum of any settlement as an offset to Plaintiff’s

recovery.

                                                V.

                                          JURY DEMAND

        In accordance with Rule 216 of the Texas Rules of Civil Procedure, Defendant demands

a trial by jury.

        WHEREFORE, PREMISES CONSIDERED, Defendant ROEHL TRANSPORT,

INC., prays that the Plaintiff take nothing by this suit, that Defendant go hence with its costs

without delay, and for such other and further relief, both general and special, at law and in

equity, to which Defendant may show itself justly entitled.




DEFENDANT ROEHL TRANSPORT, INC.’S ORIGINAL ANSWER                                    Page 2
  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                 Page 69 of 77 PageID 73


                                      Respectfully submitted,

                                      FEE, SMITH, SHARP & VITULLO, L.L.P

                                       /s/ Michael P. Sharp

                                      MICHAEL P. SHARP
                                      State Bar No. 00788857
                                      JASON A. BURRIS
                                      State Bar No. 24049591
                                      Three Galleria Tower
                                      13155 Noel Road, Suite 1000
                                      Dallas, Texas 75240
                                      Email: msharp@feesmith.com
                                      Email: jburris@feesmith.com
                                      Tel: 972-934-9100
                                      Fax; 972-934-9200

                                      ATTORNEYS FOR DEFENDANT
                                      ROEHL TRANSPORT, INC.




                                CERTIFICATE OF SERVICE

       THIS WILL CERTIFY that a true and correct copy of the foregoing instrument has been
mailed, telecopied or hand delivered to all attorneys of record in this cause of action on the 18th
day of August, 2017.

       Via E-Serve: www.efile.txcourtgs.gov
       Aaron L. Genthe
       Law Firm of Aaron A. Herbert
       8330 LBJ Freeway, Suite 400
       Dallas, TX 75243
       Email: efileagenthe@texaslegaladvice.com



                                               /s/ Michael P. Sharp

                                             MICHAEL P. SHARP




DEFENDANT ROEHL TRANSPORT, INC.’S ORIGINAL ANSWER                                    Page 3
Envelope Details                                                                           Page 1 of 3

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 Print this page

 Case # DC-17-08345 - GUDMECINDO BAHENA SEGURA vs.
 ROEHL TRANSPORT, INC., et al (TILLERY, DALE)
 Case Information
 Location                       Dallas County - 134th District Court
 Date Filed                     08/18/2017 02:19:29 PM
 Case Number                    DC-17-08345
                                GUDMECINDO BAHENA SEGURA vs. ROEHL TRANSPORT,
 Case Description
                                INC., et al
 Assigned to Judge              TILLERY, DALE
 Attorney                       Michael Sharp
 Firm Name                      Fee Smith Sharp & Vitullo LLP
 Filed By                       Kristi Moore
 Filer Type                     Not Applicable
 Fees
 Convenience Fee                $0.00
 Total Court Case Fees          $0.00
 Total Court Party Fees         $0.00
 Total Court Filing Fees        $0.00
 Total Court Service Fees       $0.00
 Total Filing & Service Fees    $0.00
 Total Service Tax Fees         $0.00
 Total Provider Service Fees    $0.00
 Total Provider Tax Fees        $0.00
 Grand Total                    $0.00
 Payment
 Account Name                   FSSV Mastercard 5 (Mastercard 7794)
 Transaction Amount             $0.00
 Transaction Response
 Transaction ID                 29528587
 Order #

 Original Answer - General Denial
 Filing Type                                      EFileAndServe
 Filing Code                                      Original Answer - General Denial
 Filing Description                               Defendant Roehl Transport, Inc.'s
 Reference Number                                 RTI.8798
 Comments




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Envelope Details                                                                           Page 2 of 3

      Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17            Page 71 of 77 PageID 75

 Status                                           Accepted
 Accepted Date                                    08/18/2017 02:46:40 PM
 Accept Comments                                  THANK YOU FOR E-FILING!! B.REBOLLAR
 Fees
 Court Fee                                        $0.00
 Service Fee                                      $0.00
 Documents
 Lead Document                  DEF Roehl Transport OA (8.18.17).pdf     [Original] [Transmitted]


 eService Details
                                                              Service                     Date/Time
 Name/Email                                       Firm                    Status Served
                                                              Type                        Opened
                                                  The Law
 Aaron Genthe                                     Firm of                                 Not
                                                              EServe      Sent Yes
 agenthe@gmail.com                                Aaron A.                                Opened
                                                  Herbert
                                                  Fee Smith
 Michael Paul Sharp                               Sharp &                                 Not
                                                              EServe      Sent Yes
 msharp@feesmith.com                              Vitullo                                 Opened
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                                                  Fee Smith
 Jason A. Burris                                  Sharp &                                 Not
                                                              EServe      Sent Yes
 jburris@feesmith.com                             Vitullo,                                Opened
                                                  LLP
                                                  134th
 Francine Ly                                      Judicial                                Not
                                                              EServe      Sent Yes
 fly@dallascourts.org                             District                                Opened
                                                  Court
                                                  Fee Smith
 Mona Brunson                                     Sharp &                                 Not
                                                              EServe      Sent Yes
 mbrunson@feesmith.com                            Vitullo                                 Opened
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 DENOSHA BOSTON                                                                           Not
                                                              EServe      Sent Yes
 DENOSHA.BOSTON@DALLASCOUNTY.ORG                                                          Opened
                                                  Fee Smith
 Kristi Moore                                     Sharp &                                 Not
                                                            EServe        Sent Yes
 kmoore@feesmith.com                              Vitullo,                                Opened
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 Aaron Genthe
                                                              EServe      Sent Yes        02:42:54
 efileagenthe@texaslegaladvice.com
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                                                                                                     8/21/2017 9:03 AM
  Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17                Page 73 of 77 PageID 77               FELICIA PITRE
                                                                                                     DISTRICT CLERK



RTI.8798
                                   CAUSE NO. DC-17-08345

 GUDMECINDO BAHENA SEGURA                        §    IN THE DISTRICT COURT
                                                 §
 v.                                              §    134th JUDICIAL DISTRICT
                                                 §
 ROEHL TRANSPORT, INC., AND                      §
 CHARLIE MCFADDEN                                §    DALLAS COUNTY, TEXAS

             DEFENDANT CHARLIE MCFADDEN’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW CHARLIE MCFADDEN, Defendant named in the above entitled and

numbered cause, and files this his Original Answer, and for same would respectfully show unto

the Court as follows:

                                                I.

                                      GENERAL DENIAL

       Defendant denies each and every, all and singular, the material allegations contained

within Plaintiff’s pleadings and demands strict proof thereof.

                                                II.

                                        SECTION 18.091

       Defendant invokes Section 18.091 of the Texas Civil Practice and Remedies Code. To

the extent Plaintiff seeks recovery for loss of earnings, loss of earning capacity, loss of

contributions of a pecuniary value or loss of inheritance, the evidence to prove such loss must be

presented in the form of net loss after reduction of income tax payments or unpaid tax liability.

Defendant further requests the court to instruct the jury as to whether any recovery for

compensatory damages sought by Plaintiff is subject to federal or state income taxes.




DEFENDANT CHARLIE MCFADDEN’S ORIGINAL ANSWER                                        Page 1
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                                               III.

                                         SECTION 41. 0105

        Defendant invokes Section 41.0105 of the Texas Civil Practice and Remedies Code. To

the extent Plaintiff seeks recovery of medical or healthcare expenses incurred, the evidence to

prove such loss must be limited to the amount actually paid or incurred by or on behalf of

Plaintiff. Defendant further requests the court to instruct the jury as to whether any recovery for

medical or healthcare expenses sought by Plaintiff is limited to the amount actually paid or

incurred by or on behalf of Plaintiff.

                                               IV.

                                         PAID V. INCURRED

        Defendant also asserts that it is entitled to a reduction in any award for medical expenses

to the extent that same is not actually paid or incurred. Defendant is further entitled to a

reduction as to any damage award for the full sum of any settlement as an offset to Plaintiff’s

recovery.

                                                V.

                                          JURY DEMAND

        In accordance with Rule 216 of the Texas Rules of Civil Procedure, Defendant demands

a trial by jury.

        WHEREFORE, PREMISES CONSIDERED, Defendant CHARLIE MCFADDEN,

prays that the Plaintiff take nothing by this suit, that Defendant go hence with its costs without

delay, and for such other and further relief, both general and special, at law and in equity, to

which Defendant may show itself justly entitled.




DEFENDANT CHARLIE MCFADDEN’S ORIGINAL ANSWER                                         Page 2
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                                      Respectfully submitted,

                                      FEE, SMITH, SHARP & VITULLO, L.L.P

                                       /s/ Michael P. Sharp

                                      MICHAEL P. SHARP
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                                      JASON A. BURRIS
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                                      Tel: 972-934-9100
                                      Fax; 972-934-9200

                                      ATTORNEYS FOR DEFENDANT
                                      CHARLIE MCFADDEN




                                CERTIFICATE OF SERVICE

       THIS WILL CERTIFY that a true and correct copy of the foregoing instrument has been
mailed, telecopied or hand delivered to all attorneys of record in this cause of action on the 21st
day of August, 2017.

       Via E-Serve: www.efile.txcourtgs.gov
       Aaron L. Genthe
       Law Firm of Aaron A. Herbert
       8330 LBJ Freeway, Suite 400
       Dallas, TX 75243
       Email: efileagenthe@texaslegaladvice.com



                                               /s/ Michael P. Sharp

                                             MICHAEL P. SHARP




DEFENDANT CHARLIE MCFADDEN’S ORIGINAL ANSWER                                         Page 3
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 Case # DC-17-08345 - GUDMECINDO BAHENA SEGURA vs.
 ROEHL TRANSPORT, INC., et al (TILLERY, DALE)
 Case Information
 Location                       Dallas County - 134th District Court
 Date Filed                     08/21/2017 09:03:47 AM
 Case Number                    DC-17-08345
                                GUDMECINDO BAHENA SEGURA vs. ROEHL TRANSPORT,
 Case Description
                                INC., et al
 Assigned to Judge              TILLERY, DALE
 Attorney                       Michael Sharp
 Firm Name                      Fee Smith Sharp & Vitullo LLP
 Filed By                       Kristi Moore
 Filer Type                     Not Applicable
 Fees
 Convenience Fee                $0.00
 Total Court Case Fees          $0.00
 Total Court Party Fees         $0.00
 Total Court Filing Fees        $0.00
 Total Court Service Fees       $0.00
 Total Filing & Service Fees    $0.00
 Total Service Tax Fees         $0.00
 Total Provider Service Fees    $0.00
 Total Provider Tax Fees        $0.00
 Grand Total                    $0.00
 Payment
 Account Name                   FSSV Mastercard 5 (Mastercard 7794)
 Transaction Amount             $0.00
 Transaction Response
 Transaction ID                 29552256
 Order #

 Original Answer - General Denial
 Filing Type                                      EFileAndServe
 Filing Code                                      Original Answer - General Denial
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 Reference Number
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      Case 3:17-cv-02239-B Document 1-1 Filed 08/23/17            Page 77 of 77 PageID 81

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 Accepted Date                                    08/21/2017 09:08:50 AM
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 Fees
 Court Fee                                        $0.00
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 Documents
 Lead Document                  DEF Charlie McFadden OA (8.18.17).pdf [Original] [Transmitted]


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                                                   Herbert
                                                   Fee Smith
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                                                   Fee Smith
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 fly@dallascourts.org                              District                                Opened
                                                   Court
 DENOSHA BOSTON                                                                            Not
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